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               IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  5171 CAMPBELLS LAND CO., INC..          )     Chapter 11
                                          )
                Debtor.                   )     CaseNo. 19-22715-CMB


  EXHIBITS 1 THROUGH 5 TO STIPULATION AND CONSENT ORDER BETWEEN
            DEBTOR AND PERKINS & MARIE CALLENDER’S, LLC
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                         EXHIBIT 1
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                                (sii;
                                   LICENSE AGREEMENT

                                         BETWEEN

                             PERKINS & MARIE CALLENDER’S, LLC
                               6075 POPLAR AVENUE, SUITE SOD
                                     MEMPHIS, TN 38119

                                           AND

                               5171 CAMPBELLS LAND CO., INC.
                              ClO MEYER UNKOVIC & SCOTT LLP
                                 HENRY W. OLIVER BUILDING
                             535 SMITHFIELD STREET, SUITE 1300
                                    PITTSBURGH, PA 15222

                                          DATED

                                     JANUARY 31, 2018

                                           FOR

                                   1801 PROSPECT ROAD
                                   ASHTABULA, OH 44006




                                                                  STORE 3383
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                                             LICENSE AGREEMENT


                 THIS LICENSE AGREEMENT (the “Agreement’) Is made and entered into as of January
        31, 2018 (the “Agreement Date”), by and between PERKINS & MARIE CALLENDER’S, LLC
        (“PMC”), a Delaware limited liabIlity company, whose principal address Is 6075 Poplar Avenue,
        Suite 800, Memphis, TN 38119 and 6171 Campbeils Land Co., Inc. a Pennsylvania corporation,
        whose principal address is 535 Smithfield Street, Suite 1300, Pittsburgh, Pennsylvania 15222.
        For purposes of simplicity, we will sometimes refer to Perkins & Marie Cailender’s, LLC as “us,”
        “we” or the “Company,” and we will sometimes refer to you as “you” or “Licensee.”

        1.      INTRODUCTION AND GRANT OF LICENSE.

                A.       INTRODUCTION.

                  Through expenditure of considerable time, skill, effort and money, we have developed a
        system for establishing, operating and licensing distinctive, high quality restaurants serving the
        publIc under the name “Perkins.” A Perkins restaurant consists of all structures, facilities,
        appurtenances, grounds, landscaping, sIgns, flagpole and flag, furniture, fixtures, equipment and
        entry, exit, parking and other areas. The approved food, beverage and other products served
        and sold by Perkins restaurants (the “Products”) for consumer consumption and not for resale are
        prepared In accordance with our standards, specifications and secret recipes,              Perkins
        restaurants are established pursuant to our plans and specifications for construction, conversion
        remodeling, decorating, equipment and layout, and are operated In accordance with our
        dIstinctive busIness formats, construction plans, Inspection and consultation programs, signs,
        flags, equipment, layouts, methods, specifications, standards, recipes (including secret flour and
        pancake mix recipes), confidential information, trade secrets, operating procedures, training
        programs and materials, guidance, policy statements and related materials, designs, advertising,
        publicity, and marketing programs and other materials (which we may modify from time to time)
        (collectively, the “System”). We own, use, promote and license certain trade names, trademarks,
        service marks and other commercial symbols, and applications related thereto, including
        “Perkins,” “Perkins Restaurant and Bakery,” “Perkins Restaurants,” “Perkins Family Restaurants
        (and Bakeries),” “Perkins Pancake Houses” and “Perkins ‘Cake & Steak” (collectively, the
        “Marks”), and the confidential information, copyrights and business format and related property
        rights which comprise the System, We may change, modify or improve the System from time to
        time to enhance the operations of Perkins restaurants. All Improvements and additions you, we
        or anyone else makes to the System, whenever made or used In connection with the System, wHi
        Inure to us and become our sole property. We grant, to qualified persons, licenses to own and
        operate Perkins restaurants pursuant to the System selling the Products and services we
        authorIze and approve.

                B,       GRANT OF LICENSE.

                         (1)              You have applied for a license to own and operate a Perkins
                                 restaurant (the “Restaurant’) at, and only at, the location known as:
                                 1601 Prospect Road, Ashtabuia, Ohio 44004 (the “Premises”) and we
                                 have approved your applIcation in reliance upon all of the
                                 representations and warranties you have made to us in connection with
                                 your desire to operate a Perkins restaurant, Including but not limited to
                                 the Information contained In your application for a license and, if the
                                 Restaurant is newly constructed and equipped, the representations and
                                 warranties you made to us In the Commitment Agreement between you
                                 and us dated N/A. Subject to the provisions of this agreement, and In
                                 reilance on such representations and warranties, we hereby grant to you
                                 a non-exciusive license (the “License”) to operate a Perkins restaurant at
                                 the Premises, and to use the System and the Marks in operating the

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                                 Restaurant for a term of twenty (20) years1 beginning on the date of this
                                 Agreement, unless this Agreement is sooner terminated as provided in
                                 Section 14 of this Agreement TermInatIon or expiration of this
                                 Agreement will constitute a termination or expiration of the License. You
                                 may not conduct your business pursuant to this Agreement from any
                                 location other than the Premises except upon our approval of your
                                 application for change of location and the payment of the then current
                                 change of location fee.

                         (2)     Best Efforts. You agree that you wfli at all times falthfufly, honestiy and
                                 diligently perform your obtigations under thIs Agreement, and that you
                                 wii continuousiy exert, during the full term of this Agreement, your best
                                 efforts to promote and enhance the business of the Restaurant and the
                                 goodwiil of the Marks and the System.

                C.       RIGHTS RESERVED BY COMPANY.

                 We retain the right in our sole and absolute discretion, to: (1) operate and grant to others
        the right to operate Perkins restaurants or other restaurants using the System or the Marks at
        such locations whIch may include locations within the Trade Area (as defined in Section iSA) and
        on such terms and conditions as we deem appropriate; (2) operate and grant to others the right to
        operate restaurants under other trade names, trademarks, service marks and commercial
        symbols different from the Marks, notwithstanding the fact that such restaurants may be the same
        as or simflar to a PerkIns restaurant; and (3) sell the Products or other products identified by the
        Marks or by other trademarks in any channel of distribution,

        2.      TRAINING.

                Prior to the execution of this Agreement, we have furnished you, your Restaurant
        Operations Director and your Restaurant Managers (each as hereinafter defined) training in the
        operation of a Perkins restaurant, We will furnish similar training to all successors to such
        persons. No person shail be permitted to supervise the Restaurant until the training has been
        completed. The training program will include classroom instruction and fleid training and wit be
        furnished at our training facility andior at a Perkins restaurant, and will last for such duration as
        we determine to be necessary.

                  Your Restaurant Operations Director and Restaurant Managers must compiete the
        training program to our satisfaction, if we, In our soie discretion, determine that any of such
        persons are unable to complete the training program satisfactorily, upon our request you agree to
        hire, as soon as practicable, a replacement who must complete our training program to our
        satisfaction. We may also offer such refresher or supplemental training programs to you and
        such persons as we, from time to time, deem appropriate at such places as we designate. By
        giving you prior written notice, we will have right to require attendance at any refresher or
        suppiemental training program by you or any of such persons.

                  No tuition charge will be made for required initial training programs. You will be
        responsible for the travel, local transportation, iodging and meal expenses, and compensation of
        yourself, your Restaurant Operations Director and your Restaurant Managers incurred while
        attending the training program and any refresher or supplemental training programs we offer to
        you or require you or such persons to attend. Reasonable charges may be made by us for
        traln!ng matenais and we may require you to purchase certain equipment to be used In such
        training.




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        3.      GUIDANCE.

                A.       GUIDANCE AND ASSISTANCE.

                We will furnish guidance to you with respect to:

                         (1)     preparation, packaging, sale and delivery of Products authorized for sale
                                 at Perkins restaurants;

                         (2)     development1 preparation and packaging of new Products we develop for
                                 sale at Perkins restaurants;

                         (3)     specifications, standards and operating procedures utilized by Perkins
                                 restaurants, and any modifications thereof;

                         (4)     approved equipment, furniture, furnishings, signs, food products,
                                 operating materials and supplies;

                         (5)     development and Implementation of local advertising and promotional
                                 programs; and

                         (6)     general operating and management procedures of Perkins restaurants.

        In our discretion, we will furnish this guidance and assistance to you in the form of our confidential
        operations manual, bulietins, written reports and recommendations, or other written materials (all
        of which are hereinafter referred to as the “Operations Manual”), inspection reports for the
        Restaurant, refresher training programs and/or telephonic consultations or consultations at our
        offices or at the Restaurant, if you request, we will furnish additional guidance and assistance
        relative to the operation of the Restaurant at per diem fees and charges we establish from time to
        time. if special training of Restaurant personnel or other assistance in operatIng the Restaurant
        Is requested by you, and must take place at the Restaurant, all our expenses for such training,
        Including a per diem charge and travel, local transportation, lodging and meal expenses for our
        personnel, must be paid by you.

                B.       OPERATIONS MANUAL

                 We will loan to you during the term of this Agreement one copy of the Operations Manual
        which may consist of multiple parts and/or volumes and which may, at our option, be provided to
        you In electronic format The Operations Manual will contain mandatory and suggested
        specifications, standards and operating procedures we prescribe from time to time for Perkins
        restaurants and information relative to your obligations under this Agreement and in the operation
        of a Perkins restaurant. We may modify the Operations Manual from time to time to reflect
        changes in the specifications, standards and operating procedures of Perkins restaurants, to
        disclose information concerning new Products and services which we may develop for sale at
        Perkins restaurants, to specify types, brands and models of equipment which you must utilize to
        produce and sell such new Products and services, and to specify changes in the decor, format,
        image, Products, services and operation of a Perkins restaurant. You must keep your copy of the
        Operations Manual current by immediately Inserting all modified pages we furnish to you and
        destroying the then obsolete pages. In the event of a dispute relative to the contents of the
        Operations Manual, the master copies we maintain at our principal office will be controlling. You
        may not at any time copy any part of the Operations Manual, disclose any part of it to employees
        or others not having a need to know its contents for purposes of operating the Restaurant, or
        permit its removal from the Restaurant without our prior approval, in the event a new version of
        the Operations Manual is provided to you, you must immediately return the then obsolete version
        to us. To the extent the Operations Manual contains any specification, standard or operating


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        procedure concerning the operation of the Restaurant, such provision shall be deemed to be
        incorporated Into this Agreement.

        4.      MARKS.

                A.       GOODWILL AND OWNERSHIP OF MARKS,

                 You acknowledge that your right to use the Marks Is derived solely from this Agreement
        and is limited to your operation of the Restaurant pursuant to and in compliance with this
        Agreement and all applicable standards specifications and operating procedures we prescribe
        from time to time during the term of the License, Any unauthorized use of the Marks by you will
        constitute a breach of this Agreement and an infringement of our rights in and to the Marks. You
        acknowledge and agree that all of your usage of the Marks snd any goodwill established by your
        use of the Marks will Inure to our exclusive benefit, and that this Agreement does not confer any
        goodwill or other interests in the Marks upon you (other than the right to operate a Perkins
        restaurani in compliance with this Agreement). All provisions of this Agreement applicable to the
        Marks will apply to any other trademarks, service marks and commercial symbols we later
        develop, authorize and license you to use.

                B.       LIMITATIONS ON LICENSEE’S USE OF MARKS.

                 You agree to use the Marks as the sole trade identification of the Restaurant. You must
        also identify yourself as the independent owner of the Restaurant in the manner we prescribe.
        You must not use any Mark as part of any corporate or trade name or with any prefix, suffix or
        other modifying words, terms, designs or symbols (other than logos and additional trade and
        service marks we license to you under this Agreement), or in any modified form, nor may you use
        any Mark In connection with the performance or sale of any unauthorized services or products or
        In any other manner we have not expressly authorized in writing. You must prominently display
        the Marks in the manner we prescribe at the Restaurant, on menus and in connection with
        advertising and marketing materials. You must not employ any of the Marks in signing contracts,
        applications for licenses or permits, or in any manner that may imply our responsibility for, or
        result in our liability for, any of your indebtedness or obligations, nor may you use the Marks in
        any way not authorIzed herein. You further agree to give such notices of trade and service mark
        registrations as we specify, and you must obtain such fictitious or assumed name registrations as
        may be required under applicable law.

                C.       NOTIFICATION OF INFRINGEMENTS AND CLAIMS.

                 You agree to immediately notify us of any apparent infringement of or challenge to your
        use of any Mark, or claim by any person of any rights in any Mark. You agree not to
        communicate with any person other than us and our counsel in connection with any such
        infringement challenge or claim, We wIll have sole discretion to take such action as we deem
        appropriate in connection with any infringement, challenge or ciaim, and the right to exclusively
        control any settlement, litigation or U.S. Patent and Trademark Office or other proceeding arising
        out of the alleged infringement, chalienge or claim or otherwise relating to any Mark. You agree
        to execute any and all instruments and documents, render such assistance, and do such acts and
        things as may, in the opinion of our counsei, be necessary or advisable to protect and maintain
        our interest in any litigation or other proceeding or to otherwise protect and maintain our interest
        in the Marks.

                D.       DISCONTINUANCE OF USE OF MARKS.

               If it becomes advisable at any time in our sole Judgment to modify or discontinue use of
        any Mark andfor for the Restaurant to use one or more additional or substitute trade or service
        marks, you agree, at your expense, to comply with our directions to modify or otherwise


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        discontinue the use of such Mark, and/or use one or more additional or substitute trade or service
        marks, within a reasonable time after we give you notice.

                E.      INDEMNIFICATION OF LICENSEE.

                We agree to inidemnify you against, and to reimburse you for, and, at our option, to
        defend you against, all damages (or which you are held liable in any proceeding arising out of
        your use of any Mark, pursuant to and in compliance with this Agreement, and for all costs you
        reasonably incur in the defense of any such claim brought against you or In any such proceeding
        in which you are named as a party, including reasonable attorney’s fees, provided that you have
        timely notified us of such ciaim or proceeding and you have otherwise complied with this
        Agreement. We have the right to approve any counsel employed by you In the defense of any
        such claim, and In the event we elect to defend any such claim, the fees and expenses of any
        separate counsel employed by you shall not be reimbursable.

                F.      WEBSITE

                 Prior to establishing a website in connection with your operation of the Restaurant, you
        must submit to us a sample of the webslte Information in the form and manner prescribed by us
        from time to time; you shall not establish a website which has not been approved in writing by us.
        You must follow our standards and specifications for websites as prescribed by us from time to
        time. In the event that you alter a previously approved webslte, you must submit to us a sample
        of alterations and receive our approval prior to Implementing such alterations to the website.

        5.      RELATIONSHIP OF THE PARTIES/1NDEMNIFICATION.

                A.       INDEPENDENT CONTRACTORS.

                   It is understood and agreed that this Agreement does not create a fiduciary relationship
        between you and us, that we and you are and shall be independent contractors, and that nothing
        In this Agreement is intended to make either you or us a general or special agent, legal
        representative, joint venturer, partner or employee of the other for any purpose or to grant either
        you or us the right to direct or supervise the daily affairs of the other. You agree to identify
        yourseif conspicuously in all deatings with customers, suppliers, public officials, Restaurant
        personnel and others as the owner of the Restaurant under a license granted by us. All of your
        stationary, business cards, and other materials we may require from time to time must contain
        your corporate name and a conspicuously displayed notice in the place we designate that you
        operate your Restaurant as an Independently owned and operated licensed business and that
        you independently own and operate the Restaurant as a System licensee. You acknowedge that
        no agreement we make with any third party is for your benefit. In addition, neither we nor you will
        interfere with each other’s contractual relations or employment decisions. Finally, nothing in this
        Agreement authorizes you to make any contract agreement, warranty, or representation on our
        behaif, or to Incur any debt or other obligation in our name; and we will not in any event assume
        liability for, or be deemed liable hereunder as a result of, any such action; nor will we be liable by
        reason of any of your acts or omIssions In your employment decisions or your operation the
        licensed business or for any claim or judgment arising therefrom against us.

                B.       NO LIABILITY FOR ACTS OF OTHER PARTY,

                 You agree that you will not employ any of the Marks in signing any contract, check, legal
        obligation, apphcation for any license or permit, or in a manner that may imply that we are
        responsIble, or which may result in liability to us for, any of your indebtedness or obligations. You
        further agree not to use the Marks in any way not expressly authorized by this Agreement.
        Except as expressly authorized in writing, neither we nor you may make any express or implied
        agreements, warranties, guarantees or representations, or Incur any debt in the name of or on
        behalf of the other, or represent that our relationship Is other than Ocensor and licensee1 and

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        neither we nor you will be obligated by or have any lability under any agreements or
        representations made by the other that are not expressly authorized in writing. We will not be
        obligated for any damages to any person or property directly or indirectly arising out of the
        operation of the Restaurant, your empioyment decisionsor your business conducted pursuant to
        or beyond the scope of this Agreement or the License.

                C.      TAXES.

                 Except for taxes which we are required to collect from you in connection with items you
        purchase from us, we wili have no liabfllty for any sales, use, service, occupation, excise, gross
        receipts, Income, property or other taxes, whether ievled upon you, the Restaurant, your property,
        us or the royalty fees which you pay to us, in connection with the sales made or business
        conducted by you. Payment of ali such taxes wili be your responsibility.

                D.      INDEMNIFICATION.

                  You agree, during and after the term of this Agreement, to indemnify, defend and hold us,
        our affiliated entities, and their and our shareholders, directors, partners, officers, employees,
        agents, representatives, successors and assignees (collectively, the “Indemnitees”), harmless
        against and reimburse the lndemnitees for all claims, obllgations and damages described in
        Section 55, any and all claims arising out of the use of the Marks in any manner not in
        accordance with this Agreement and all losses, liabilities, claims, taxes, demands, damages,
        causes of action, governmental inquiries and investigations, costs and expenses, including
        reasonable attorneys’ and accountants’ fees, consequently, directly or indIrectly Incurred, arising
        from, as a result of, or in connection with this Agreement, the operation of the Restaurant, your
        employment decisions or any of your or your employees’ actions, errors, omissions, breaches or
        defaults under this Agreement or any acts or omissions alleged or proven to be a result of our
        negligence. For purposes of this indemnification, “claim? shall mean and include all obligations,
        actual and consequential damages, expenses, losses, costs and other liabilities reasonably
        incurred in the defense ol any claim against the indemnitees, including without limitation
        reasonable accountants’, attorneys’ and expert witness fees, costs of investigation and proof of
        facts, court costs, other litigation expenses and travel, lodging and meal expenses incurred in
        litigation or preparation for litigation, whether or not litigation is flied. If the lndemnitees
        reasonably conclude that their interests are not being adequately represented by your counsel,
        the lndemnltees will have the right to employ their own attorneys to defend any claim against
        them in the manner they deem appropriate or desirable in their sole discretion, and your
        indemnification hereunder shall apply to and Include the costs incurred in any such defense.
        Your obligation to Indemnify the lndemnitees will continue in full force and effect subsequent to
        and notwithstanding the expiration or termination of this Agreement.

        6.      CONFIDENTIAL INFORMATION,

                We possess certain confidential and proprietary information and trade secrets consIsting
        of, but not limited to, the following categories of information, methods, techniques, procedures
        and knowledge we have deveioped (collectively, the “Confidential information”):

                         (1)     methods and procedures relating to the development and operation of
                                 Perkins restaurants, whether contained in the Operations Manual or
                                 otherwise;

                        (2)      secret recipes and flour and other mixes, menu analysis and methods of
                                 preparation of Products and services offered in Perkins restaurants;

                        (3)      methods, procedures and techniques for preparing, packaging,
                                 marketing, selling and delivering Products and services offered in
                                 Perkins restaurants;

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                         (4)     knowledge of test programs, concepts and results relating to the
                                 planning1 development and testing of the System and Products and
                                 services offered in Perkins restaurants;

                         (5)     sources for purchase of food, beverages and other ingredients used by
                                 Perkins restaurants;

                         (6)     marketing programs and image; and

                         (7)     methods, techniques, specifications, procedures, information, systems
                                 and knowledge of and experience In the development, licensing and
                                 operation of Perkins restaurants.

                 We will disclose the Confidential information to you during training in the Operations
        Manual and training manuals, and in guidance end assistance furnished to you during the term of
        this Agreement You may also learn additional Confidential information and trade secrets of ours
        during the term of this Agreement. You acknowledge and agree That you will not acquire any
        interest in the Confidential Information, other than the right to utflize ft in the operation of the
        Restaurant, and that the use of the Confidential Information in any other business, or the
        disclosure of the Confidential Information to any other person or entity, would constitute an unfair
        method of competition with us and other Perkins restaurant licensees,

                You acknowledge and agree that the Confidential Information, which we have invested e
        substantial amounl of money and time in developing, is a valuable asset of ours, Includes trade
        secrets of ours, and will be disclosed to you solely on the condition that you agree, and you do
        hereby agree, that you:

                         (1)     will not use the Confidential Information In any other business or
                                 capacity;

                         (2)     wIll maintain the absolute secrecy and confidentiality of the Confidential
                                 Information during and after the term of this Agreement (except as
                                 authorized by this Agreement);

                         (3)     will not make unauthorized copies of any portion of the Confidential
                                 Information which is in written, audio, video or other reproducible form;
                                 and

                         (4)     will adopt and implement all reasonable procedures we prescribe from
                                 time to time to prevent unauthorized use or disclosure of the Confidential
                                 Information, inciuding requiring your Restaurant Operations Director and
                                 Restaurant Managers and other employees who have access to the
                                 Confidential Information to execute confidentiality agreements in the form
                                 we approve or prescribe prior to or during their employment
                                 Furthermore, other than for consumption In the Restaurant or approved
                                 carry-out or retail sales programs, you agree not to sell or provide to any
                                 person or entity other than us or our designee, for use, testing or any
                                 other purpose, any mIxes for preparation of Products you purchase from
                                 us or our deslgnees.

                   Notwithstanding anything to the contrary contained In this Agreement and provided you
         have obtained our prior written consent, which consent shall not be unreasonably withheld, the
         restrictions on your disclosure and use of Confidential Information will not apply to the following:
         (i) information, processes or techniques whIch are or become generally known in the restaurant
         Industry, other Ihan through disclosure (whether deliberate or inadvertent) by you; and (ii)

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        disclosure of Confidential Information in judicial or administrative proceedings to the extent that
        you are legally compelled to disclose such information, provided that you have used your best
        efforts, and have afforded us the opportunity, to obtain an appropriate pràtectlve order or other
        assurance satisfactory to us of confidential treatment for the information required to be so
        disclosed.

                You will fully and promptly disclose to us, all ideas, concepts, formulas, recipes, methods
        and techniques relating to the development and/or operation of the Restaurant conceived or
        developed by you and/or your employees during the term of this Agreement. You acknowledge
        that such Ideas, concepts, formulas, recipes, methods and techniques shall be our sole property,
        and you shall not be entitled to any compensation whatsoever for the same.

        7.      FEES.

                A.       ROYALTY FEE.


                You agree to pay to us a royalty fee equal to four percent (4%) of the Gross Sales
                                                                                                           of the
        [except In the states of iowa and Wisconsin the royalty fee rate is 5% of the Gross Sales]
                                                                                                       Thursday
        Restaurant (as defined in Subsection B of this Section). The royalty fee shall be paid on
                                                                                                           funds
        of each week based on Gross Sales for the previous week ending Sunday via electronic
                                                                                                            bank
        transfer (“ACH”) under which we automatically deduct such fees due to us from your
                              opening, you  will   have  provided  us  with your    bank’s  name,   address  and
        account. [Prior to
        account number, a voided check from the bank account, and sign and give to us all requisite
                                                                                                   ACH Transfer
        documents, inciuding Attachment C to this Agreement, necessary to effectuate the
                                                                                                            must
        and our ability to withdraw funds from such bank account via electronic fund transfer.] You
                                       change    In your  banking relationship,  including  changes   in account
        immediately notify us of any
                                                                                                         which is
        numbers. We may charge you a royalty fee on Gross Sales of any additional activity
        added to the operations of the Restaurant,    including but not limited to,  bakery  operations.

                 B,       DEFINITION OF GROSS SALES,

                As used in this Agreement, the term “Gross Sales” shall mean gross sales of all food,
                                                                                                    by or
        beverage and other menu items, merchandise, goods and other services sold or performed
        for you or the Restaurant, In, upon, or from the Premises, or through or by means of the business
        conducted at the Restaurant, the PremIses or otherwise, whether for cash or credit. Sales and
        service taxes collected from customers and paid to the appropriate taxing authority and the
        discounted portion of employee meals, and sales of cigars, cigarettes and newspapers shall not
        be Included In Gross Sales.

                 C.       INTEREST ON LATE PAYMENTS.

                  All royalty fees, Marketing Fund contributions (as described in Section 9 of this
         Agreement), amounts due for your purchases from us or ovr subsidiaries or affiliates, and other
         amounts which you owe to us or our subsidiaries or affiliates will bear interest beginning on the
         first day of the month or period, whichever is applicable, immediately following the date such
         amounts were due at the highest applicable legal rate for open account business credit, not to
         exceed one and one-half percent (1.5%) per month or period. This Section 7C does not
         constitute an agreement on our part to accept payments from you after the payments are due or
         our commitment to extend credit to, or otherwise finance your operation of, the Restaurant.
         Further, you acknowledge that your failure to pay all amounts when due will constitute grounds
         for termination of this Agreement, as provided in Section 14 of this Agreement, notwithstanding
         the provisions of this Section 7C.




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        D,      APPLICATION OF PAYMENTS.

                 Notwithstanding your designation, we will have sole discretion to apply any of your
        payments to any of your past due Indebtedness for Initial or royaity fees Marketing Fund
        contributions, purchases from us or our subsidiaries or affiliates interest or any other outstanding
        indebtedness in such order and amounts as we may elect. The acceptance of a partial or late
        payment wIil not constitute a waiver of any of our rights or remedies contained In this Agreement.


        8,      RESTAURANT OPERATING STANDARDS.

                A.       CONDITION. APPEARANCE AND OPERATiON OF ThE RESTAURANT.

                         You agree that:

                         (1)     neither the Restaurant nor the Premises will be used for any purpose
                                 other than the operation of a Perkins restaurant in compliance with this
                                 Agreement;

                         (2)     you will maintain the condition and appearance of the Restaurant, its
                                 equipment, furniture, furnishings, flags, signs and the Premises in
                                 accordance with our specifications and standards as in effect from time
                                 to time and consistent with the image of a Perkins restaurant as an
                                 efficiently operated business offering high quality food service and
                                 observing the highest standards of cleantness and sanitation;

                         (3)     you will perform all periodic maintenance with respect to the decor,
                                 equipment, furniture, furnishings and signs of the Restaurant and the
                                 Premises that is required from time to time to maintain such condition,
                                 appearance and efficient operation, inciuding, without limitation:

                                  (a)      thorough cieaning, repainting and redecorating of the interior and
                                           exterior of the Premises at reasonable intervals;

                                  (b)      interior and exterior repair of the Premises; and

                                  (c)      repair or replacement of damaged, worn out or obsolete
                                           equipment, furniture, furnishings, flags and signs.

                         (4)      you will not make any material aiterations to the Premises, or to the
                                  appearance of the Restaurant as originaliy deveioped, without our prior
                                  written approvai;

                          (5)     we have the right to require that you remodel, redecorate, re-equip,
                                  modernize and refurnish the Premises and the Restaurant to reflect any
                                  changes in Perkins restaurants that we prescribe as our then-current
                                  standards and specifications, provided that at the time of our request, at
                                  least 25% of our Company owned and operated restaurants meet such
                                  standards and specifications, You understand that such remodeling,
                                  redecorating, re-equipping, modernization or refurnlshing may require a
                                  substantial investment on your part and that we cannot make any
                                  guarantee of any particular return on that investment. We have the right
                                  to approve the layouts, designs, and new equipment, furniture and
                                  furnishings you use in any remodeling, redecorating and re-equipping;
                                  and


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                         (6)     you will place or display at the Premises (interior and exterior) only such
                                 signs, flags, emblems, lettering, logos and display and advertising
                                 materials that we from time to time approve,

                B.       RESTAURANT MENU.

                 You agree that the Restaurant will offer for sale all food and beverage products and
        services that we from time to time require. You agree that the Restaurant will sell only products
        that we have approved, You agree that the Restaurant will not sell any Products to any person
        for resale to any third person. The Restaurant must not offer for sale or sell at the Premises or
        any other location any unapproved products, or use the Premises for any purpose other than the
        operation of the Restaurant.

                We have the right to approve the Restaurant’s offering of Products or servIces on a test
        basis, which approval we may condition in any manner, We will have the right to stop the test at
        any time after Its commencement.

                C,       APPROVED PRODUCTS, DISTRIBUTORS AND SUPPLIERS.

                 The reputation and goodwill of Perkins restaurants is based upon, and can be maintained
        only by, the sale of distinctive, high quality food products and beverages and the presentation,
        packaging, service and delivery of such products in an efficient and appealing manner. We have
        developed various proprietary products which are prepared by or for us according to our
        proprietary and secret recipes and formulas. We have developed standards and specifications
        for food products, ingredients, seasonings, mixes, beverages, materials and supplies
        incorporated In or used in the preparation, cooking, serving, packaging and delivery of prepared
        food products authorized for sale at Perkins restaurants, We have and will periodically approve
        suppliers and distributors of the foregoing products that meet our standards and requirements,
        lnciuding, without limitation, standards end requirements relating to product quality, prices,
        consistency, reliability, financial capability, labor relations and cuslomer relations, You agree that
        for use In the Restaurant you will:

                         (1)     purchase our proprietary flour, pancake, cookie, muffin and other mixes
                                 and batters, and other products developed by us from time to time
                                 pursuant to secret recipes or formulas, only from us or a third party
                                 licensed by us to prepare and seW such products; and

                         (2)     purchase all other food products, ingredlenls, seasonings, mixes,
                                 beverages, materials and supplies used in the preparation of Products;
                                 menus, paper, glassware, china and plastic products; packaging or other
                                 materials, utensils and uniforms that meet our standards and
                                 specifications from suppliers we have approved,

                You must at all times maintain an inventory of approved food products, beverages,
        Ingredients and other products sufficient in quantity and variety to realize the full potential of the
        Restaurant.

                 We may approve a singie distributor or other supplier for any Product and may approve a
        distributor or other supplier only as to certain of the Products, We may concentrate purchases
        with one or more distributors or suppliers to obtain lower prices and/or the best advertising
        support and/or services For any group of Perkins restaurants we license and/or operate. Approval
        of a distributor or other supplier may be conditioned on requirements relating to the frequency of
        delivery, standards of service, including prompt attention to complaints or other criteria, and
        concentration of purchases, as set forth above, and may be temporary, pending our further
        evaluation of such distributor or other supplier.


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                 You agree to notify us and submit to us all information, specifications and samples that
        we request if you propose to purchase any food products, mixes, seasonings, beverages, menus,
        paper, glassware, china or plastic products packaging, uniforms or other materials or utensils
        from a distributor or other supplier who has not been previously approved by us. We will notify
        you within a reasonable time whether you are authorized to purchase such products from such
        distributor or other supplier.

                We may, from time to time conduct market research and testing to determine consumer
        trends and the marketability of new food products and services. You agree to cooperate and
        assist us by participating in our customer surveys and market research programs test marketing
        new food products and services In the Restaurant and providing us with timely reports and other
        relevant information regarding such customer surveys and market research.

                D.       SPECIFICATIONS. STANDARDS AND PROCEDURES.

                 You acknowledge that the operation of the Restaurant in compliance with our high
        standards is important to us and all other Perkins restaurant licensees. You agree to cooperate
        with us by maintaining our high standards in the operation of the Restaurant. You further agree
        to comply with all mandatory specifications, standards and operating procedures relating to
        appearance, (unction, cleanliness1 sanitation, safety, business hours, delivery services, new
        Products, purchasing or leasing new or different equipment for preparation and sale of new
        Products, compliance with the decor, format and image, including equipment, furniture, fixtures
        and signage, of a Perkins restaurant (as It may be developed or changed by us from time to time)
        and operation of a Perkins restaurant. Mandatory specifications, standards and operating
        procedures we prescribe from time to time in the Operations Manual, or otherwise communicate
        to you in writing, will constitute provisions of this Agreement as if fufly set forth in this Agreement
        Au references to this Agreement include all such mandatory specifications, standards and
        operating procedures, You agree that the Restaurant wfli conduct business in the ordinary
        course seven days a week (excluding holidays we specify) and the number of hours each day
        that we authorize. You acknowledge that approved restaurant hours may vary from one location
        to another depending on conditions in the market where the restaurant is located.

                E.       COMPLIANCE WITH LAWS AND GOOD BUSINESS PRACTICES.

                 You agree to secure and maintain in force in your name all required licenses, permits and
        certificates relating to the operation of the Restaurant. You further agree to operate the
        Restaurant in full compliance with all appflcabie laws, ordinances and regulations, including,
        without limitation, all government regulations relating to health and sanitation, workers’
        compensation insurance, unemployment insurance and withholding and payment of federal, state
        and locai income taxes, social security taxes and sales taxes as well as all labor and empioyment
        and data privacy laws and regulations. All of your advertising must be completely factual, be in
        good taste in our judgment and conform to the highest standards of ethical advertising, You
        agree that in all dealings with us, your customers, suppflers and public officials, you wfli adhere to
        the highest standards of honesty, integrity, fair dealing and ethical conduct. You agree to refrain
        from any business or advertising practice which may be injurious to our business or to the
        goodwill associated with the Marks and other Perkins restaurants.

                 You agree to notify us, by telephone within forty-eight (48) hours followed within five (5)
        days by written notification, inciuding copies of any pleadings or process received of: (i) the
        commencement of any action, suit or proceeding relative to the Restaurant; (A) the issuance of
        any order, writ, injunction, award or decree of any court, agency or other governmental
        instrumentality which may adversely affect the operation or financiai condition of the Restaurant;
        and (hi) any notice of violation of any law, ordinance or regulation relating to health or safety. You
        agree that you will not accept service of process for us.



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                 F       MANASEMENTAND PERSONNEL OF THE RESTAURANT.

                         (1)     You agree that at all times you will (I) employ an terms reasonably
                                 satisfactory to us a Restaurant Operations Director who shall hav8
                                 principal operational responsibility for the Restaurant and who shall have
                                 such qualifications and experience as we shall reasonably require and
                                 who shall have completed our training program and (ii) employ on a full-
                                 time basis a general manager or an associate manager and a food
                                 production manager, each of whom has completed our training program
                                 (a ‘Restaurant Manager”). if the Restaurant is your only licensed
                                 Perkins restaurant, the duties of the Restaurant Operations Director and
                                 the Restaurant Manager may be performed by the same person. You
                                 must, at all times during the term of this Pgreement, have in your
                                 employment at the Restaurant not less than three certified managers
                                 who have satisfactorily comp!eted our training program. The Restaurant
                                 shall at all times be under the direct on-premises supervision of a
                                 Restaurant Manager. You agree to hire all employees of the Restaurant
                                 and be exclusively responsible for the terms of their employment and
                                 compensation and for the proper training of your employees in the
                                 operation of the Restaurant. You agree to require all employees to
                                 maintain a neat and clean appearance and to conform to the standards
                                 of dress and/or uniforms that we specify from time to time for Perkins
                                 restaurants.

                         (2)     You shall not recruit or hire any of our employees or any employees of
                                 any Perkins restaurant operated by us or by a Perkins restaurant
                                 licensee without obtaining our prior written permission or the prior written
                                 permission of the other licensee uniess six months have expired since
                                 such employees termination of employment with us or the licensee. In
                                 the event you breach this sub-section of the Agreement, you shall pay to
                                 us or the licensee an amount of ten thousand dollars ($10,000.00) for the
                                 employment of a non-manager and twenty-five thousand dollars
                                 ($25,000.00) for the employment of a manager.

        G.      INSURANCE.

                 During the term of the Ucense, you agree to comply with all insurance requirements
        related to the Restaurant’s lease or mortgage and to maintain in force at all times, under policies
        of Insurance issued by carriers we have approved:

                         (1)     employer’s liability and workers’ compensation insurance as prescribed
                                 by applicable law;

                         (2)     comprehensive general liability Insurance (with products, completed
                                 operations and contractual liability and independent contractors
                                 coverage) and comprehensive motor vehicle flabflity Insurance (for
                                 owned and non-owned vehicles) against claims for bodily and personal
                                 injury, death and property damage caused by or occurrIng In conjunction
                                 with the operation of the Restaurant (or otherwIse in conjunction with
                                 your conduct of business pursuant to this Agreement) under one or more
                                 policies of insurance, each on an occurrence basis, with single-limit
                                 coverage for personal and bodily injury, death and property damage of at
                                 least $2,000,000 (or such other amount as we may reasonably require),
                                 for each occurrence;



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                         (3)      all-risk building and contents insurance including flood and earthquake,
                                  vandallsm and theft Insurance for the replacement value of the
                                  Restaurant and its contents;

                         (4)      business Interruption insurance for a period adequate to reestablish
                                  normal business operations; and

                         (5)      builders’ risk insurance on a completed value non-reporting basis during
                                  the period of any remodeling of the Restaurant.

                 The insurance requirements are stated in the Operations Manual and we may periodically
        increase the amounts of insurance you will be required to maintain, and we may require different
        or additional kinds of insurance at any time, Including excess liability insurance, to reflect inflation,
        identification of new risks, changes In law or standards of liability, higher damage awards, or
        other relevant changes in circumstances. Each insurance policy must name us as an additional
        insured and must provide for thirty (30) days prior written notice to us of any material
        modification, cancellation, termination or expiration of such policy.

                  Prior to the expiration of the term of each insurance policy, you agree to furnish us with a
        certificate of insurance or with a certified copy of each renewal or replacement insurance policy
        you will maintain for the immediately foilowing term and evidence of the payment of the premium
        for the insurance policy. if you fail or refuse to maintain required insurance coverage, or to
        furnish satisfactory evidence of required insurance coverage and payment of the premiums we, at
        our option and in addition to our other rights and remedies under this Agreement, may obtain the
        required insurance coverage on your behalf, You must cooperate fully with us In our effort to
        obtain such insurance policies, promptly execute all forms or instruments required to obtain or
        maintaIn any such Insurance, allow any inspections of the Restaurant which are required to
        obtain or maintain such insurance and pay to us, on demand, any costs and premiums we incur,

                Your obligations to maintain insurance coverage as described above will not be affected
        in any manner by reason of any separate insurance we maintain, nor will the maintenance of
        insurance relieve you of any obligations under Section 5 of this Agreement.

        9.      MARKETING.

                A.       BY COMPANY.

                 Recognizing the value of advertising to the goodwill and public Image of Perkins
        restaurants, we will maintain and administer a marketing fund (the “Marketing Fund”) for the
        marketing programs that we deem necessary or appropriate, in our sole discretion, You agree to
        contribute to the Marketing Fund three percent (3%) of Gross Saies of the Restaurant calculated
        in the same manner as, and payable via ACH Transfer together wfth, the royaity fees due under
        this Agreement

                 We will direct all marketing programs financed by the Marketing Fund, and we will have
        sole discretion over the creative concepts, materials and endorsements used in the programs,
        and the geographic, market, and media placement and aliocation of the programs. You agree
        that the Marketing Fund may be used to pay the costs of preparing and producing video, audio
        and written advertising materials; administering multi-regional advertising programs, Including,
        without limitation, purchasing direct mail and other media advertising, and employing advertising
        agencies to assist therewith; supporting public reiations, market research, and menu
        development: and other advertising and marketing activities that we, in our sole discretion, deem
        appropriate.

               The Marketing Fund will be accounted for separateiy from our other funds and will not be
        used to defray any of our generai operating expenses, except for such reasonable salaries,

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        administrative costs and overhead as we may Incur in activities reasonably related to the
        administration of the Marketing Fund and Its marketing programs including, without limitation,
        conducting market research and menu development, preparing advertising and marketing
        materials, and collecting and accounting for contributions to the Marketing Fund (including, but
        not limited to, attorneys and accountants fees and other expenses of htigation), We may spend
        in any fiscal year an amount greater or less than the aggregate contribution of aM Perkins
        raslaurants to the Marketing Fund in that year and the Marketing Fund may borrow 1mm us or
        from other lenders to cover deficits of the Marketing Fund or cause the Marketing Fund to invest
        any surpius for future use by the Marketing Fund. You authorize us to collect for the Marketing
        Fund any advertising or promotional monies or credits offered by any supplier based upon your
        purchases. AM interest earned on monies contributed to the Marketing Fund will be used to pay
        the expenses of the Marketing Fund incurred in advertising and promotion, Inciuding the
        reasonabie administrative expenses reiated thereto before other asseis of the Marketing Fund
        are expended. We wili prepare an annuai statement of monies collected and costs incurred by
        the Marketing Fund within one hundred twenty (120) days after the end of our fiscal year and wili
        furnish this statement to you upon your written request. We have the right to cause the Marketing
        Fund to be incorporated or operated through a separate entity at such time as we deem
        appropriate, and That entity wifl have aD of our rights and duties pursuant to this Section 94.

                  You understand and acknowledge that the Marketing Fund is intended to enhance
        recognition of the Marks and patronage of Perkins restaurants. Although we will endeavor to
        utilize the Marketing Fund to deveiop advertising and marketing materials and programs, and to
        place advertising that wHI benefit ali Perkins restaurants, we undertake no obligation to ensure
        that expenditures by the Marketing Fund in or affecting any geographic area are proportionate or
        equivaient to the contributions to the Marketing Fund by Perkins restaurants operating in that
        geographic area or that any Perkins restaurant will benefit directly or in proportion to Its
        contributions to the Marketing Fund from the development of advertising and marketing materials
        or the placement of advertising. Except as expressly provided in this Section 9A, we assume no
        direct or indirect liabflity or obligation to you with respect to our maintenance, direction or
        administration of the Marketing Fund. You acknowiedge that we have the right, and you hereby
        authorize us, to settle or otherwise compromise au disputes with regard to the Marketing Fund.

                B.       BY LICENSEE.

                 in addition to your contributions to the Marketing Fund, you agree to spend annuafly for
        local advertising of the Restaurant (including classified telephone directory advertising) an
        amount not less than one percent (1%) of The Gross Sales of the Restaurant. Sampies of aM iocai
        advertising and promotional materials That we have not prepared or previously approved must be
        submitted to us for approval prior to use. You may not use any advertising or promotional
        matedais that we have disapproved,

                C,       GRAND OPENING

                You must, within sixty days of the opening of the Restaurant, execute a “grand openiig”
        program. Such program must be submitted to and approved by our Marketing Department prior
        to execution.

        10.     REPORTS, FINANCIAL STATEMENTS AND FINANCIAL CONDITION.

                Unless otherwise agreed by us in writing, you agree to adopt the Company’s financial
        and operational reporting chart of accounts format, as set forth in the Operations Manual or
        otherwise furnished to you, which may be amended from time to time, You also agree to
        maintain accurate books of account, governmentai reports, register tapes, guest checks, daily
        reports and complete copies of all federal and state income tax returns, property and sales and
        use tax returns. Such records, reports and returns must be preserved for such periods of time as


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        are reasonably specified by us from time to time in the Operations Manual or otherwise but not
        less than the minimum time prescribed by applicable law.

                 With respect to the operation and financial condition of the Restaurant, you agree to
        furnish us, in the form we from time to time prescribe:

                         (1)     by the tenth (10th) day of each month for the preceding calendar month,
                                 a report of the Gross Sales of the Restaurant, other revenues generated
                                 at the Restaurant and other information which we may request that may
                                 be useful in connection with our marketing and other legitimate functions.
                                 This report must also include a statement computing amounts then due
                                 for royalty fees and Marketing Fund contributions and be certified by you
                                 or by your chief executive or financial officer;

                         (2)     by the twentieth (20th) day of each month for the preceding calendar
                                 month, a profit and loss statement for the Restaurant and be certified by
                                 you or by your chief executive or financial officer;

                         (3)     upon our request, such other data, information and supporting records
                                 for such periods as we from time to time reasonably require; and

                         (4)     wIthin one hundred twenty (120) days after the end of your fiscal year, a
                                 fiscal year-end balance sheet, income statement and statement of
                                 changes In financiai position (cash flow) of the Restaurant for such fiscal
                                 year, reflecting all year-end adjustments (audited if available) and a
                                 statement of annual Gross Sales certifying that your Gross Sales for the
                                 immediately preceding fiscal year have been calculated and reported in
                                 compliance with the terms of this Agreement, each of which shall be
                                 certified by you or by your chief executive or financial officer.

                  If at any time you are delinquent in the payment of any amount owed to us or our
        affiliates, you agree: (1) upon our request, to furnish us income statements and balance sheets
        for such periods and as of such dates and all in such detail as we may request, for you and each
        entity affiliated with you, whether or not such entity conducts any business with the Restaurant,
        (2) that we may directly contact any lender, lessor, supplier or vendor for the purpose of obtaining
        information relating to the Restaurant and any lease or financial arrangements and you hereby
        authorize such persons to disclose all such information to us and, if you are an entity, you agree
        that we may contact any of your officers, directors, shareholders or partners for any purpose
        reasonably related to your undertakings contained in this Agreement and (3) to furnish, at our
        request, books of account, governmental reports, register tapes, guest checks, daily reports and
        complete copies of federal and state income tax returns, property and sales and use tax returns.

        11.     INSPECTIONS AND AUDITS,

                A.       COMPANY’S RIGHT TO INSPECT THE RESTAURANT.

                To determine whether you are complying with this Agreement, and with specifications,
        standards and operating procedures we prescribe for the operation of Perkins restaurants, we or
        our agents will have the right, at any reasonable time, to:

                         (1)     inspect the Restaurant and the Premises;

                         (2)     observe and video tape the operations of the Restaurant for such
                                 consecutive or intermittent periods as we deem necessary;



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                         (3)      remove, In reasonable quantities, samples of any food and beverage
                                  product, material or other products for testing and analysis;

                         (4)      interview personnel of the Restaurant;

                         (5)      interview customers of the Restaurant and

                         (6)      Inspect and copy any books, records and documents relating to the
                                  operation of the Restaurant.

                You agree to fully cooperate with us in connection with any such inspections,
        observations, videotaping, product removal and interviews. You agree to present to your
        customers any evaluation forms we pedodicaily prescribe and to participate and/or request your
        customers to participate in any surveys performed by us or on our behalf.

                 B.      COMPANY’S RIGHT TO AUDIT.

                 We have the right at any time during business hours, and without prior notice to you, to
        inspect and audit, or cause to be inspected and audited, the business records, bookkeepIng and
        accounting records, sales and income tax records and returns and other records of the
        Restaurant and the books, records and tax returns of any entity which holds the License granted
        under this Agreement. You must fully cooperate with our representatives and any Independent
        accountants that we hire to conduct any such inspection or audit. if any such inspection or audit
        discloses an understatement of the Gross Sales of the Restaurant, you agree to pay to us, within
        fifteen (15) days after receipt of the inspection or audit report, the royalty fees and Marketing
        Fund contributions due on the amount of such understatement, pius Interest (at the rate and on
        the terms provided in Section 7C of this Agreement) from the date originally due until the date of
        payment Further, in the event such inspection or audit is made necessary due to your failure to
        furnish us with reports, supporting records, other information or financial statements, as required
        by this Agreement, or to furnish such reports, records, information or financial statements on a
        timely basis, or if an understatement of Gross Sales for the period of any audit is determined by
        any such audit or inspection to be greater than two percent (2%), you agree to reimburse us
        Immediately upon notice for the cost of the inspection or audit, including, without limitation, the
        charges of attorneys and independent accountants, and the travel, lodging and meal expenses
        and applicabie per diem charges for our employees. The foregoing rights will be in addition to all
        other remedies and rights that we may have under this Agreement or under applicable law.

        12,      TRANSFER OF LICENSE.

                 A.      BY COMPANY.

                 This Agreement is fully transferable by us and will inure to the benefit of any transferee or
        other legal successor to our interests in this Agreement.

                 B.      LICENSEE MAY NOT TRANSFER WITHOUT APPROVAL OF COMPANY.

                 The rights and duties created by this Agreement are personal to you. We have granted
        the License to you in reliance upon the individual and collective character, skill, aptitude, attitude,
        and business ability of the persons who will be engaged in the ownership and management of the
        Restaurant, your financial capacity and the representations and warranties made to us in the
        application and the Commitment Agreement, if applicable, and the representations, warranties
        and covenants contained in this Agreement. Accordingly, neither this Agreement nor the License
        (or any interest therein), nor any part or all of the ownership of Licensee (if an entity) or the
        Restaurant (or any interest therein), may be transferred, in whole or in part, direcOy or indirectly,
        without our prior written approval, and any attempted transfer without our prior written approval
        will constitute a breach of this Agreement and convey no rights to or interests in thIs Agreement

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        or the License. As used in this Agreement the term “transfer” means and Includes the voluntary.
        involuntary, direct or indirect assignment sale, gift pledge1 grant of security Interest or other
        transfer by you (or any of your owners) of any Interest in: (I) this Agreement or any related
        agreement between you and us; (Ii) the License; (Hi) the Licensee; (lv) the Restaurant or (v) the
        Premises. This Section 12B shall not apply to any interest in the Restaurant or the Premises
        conditionally transferred to any bone tide lender as collateral security for any loans to you or to
        any financing or refinancing structured as a sale-leaseback, provided that upon the sale of the
        Restaurant, it Is simultaneously leased back pursuant to a Lease Agreement which is subject to
        our rights under this Agreement.

                 C.      RIGHT OF FIRST REFUSAL

                 If at any time during the term of this Agreement and for a period of one year thereafter
        any interest in this Agreement, the License, the Restaurant, the Premises, or a controlling Interest
        in Licensee is proposed to be sold, the seller shall obtain a bona tide, executed, written offer from
        a responsible and fully disclosed purchaser and shall submit an exact copy of such offer to us
        aiong with any other information that we may reasonably request to evaluate the offer and the
        identity of the proposed purchaser shall be disclosed to us. We shall have the right, exercisable
        by written notice delivered to you within thirty (30) days after the date of delivery of an exact copy
        of such offer and all requested information to us, to purchase such interest for the prIce and on
        the terms and condillons contained in such offer, provided that we may substitute cash for any
        form of payment proposed in such offer. Regardless of the terms of the offer, we may, In our
        discretion, structure the transaction as an asset purchase, rather than a stock purchase and to
        substitute cash for securities or other property as consideration. It less than the entire interest In
        the Licensee, this Agreement, the License, the Restaurant or the Premises is proposed to be
        sold, we shall have the right to purchase the entire interest for a price equal to the proposed price
        plus a pro-rata Increase based on the value of the Interest to be purchased. Our credit shall be
        deemed equal to the credit of any proposed purchaser and shall have not less than ninety (90)
        days to prepare for closing. We shall be entitled to all representations and warranties customarily
        given by the seller of assets of a business. We shall not be obligated to pay any finder’s or
        broker’s fee or commission.

                 If we do not exercise our right of first refusal, the sale or other transfer may be completed
        pursuant to and on the terms of such offer, subject to our approval of the transfer as otherwise
        provided in this Agreement; provided, however, that If the proposed sale or other transfer is not
        completed within one hundred twenty (120) days after delivery of such offer to us, or if there is
        any change In the terms of the proposed transaction, we shall have an additional right of first
        refusal for an additional thirty (30) days.

                 Our right of first refusal shall not apply to the sale or transfer of an interest in this
        Agreement, the License, Licensee, the Premises or the Restaurant to a member of Licensee’s
        Immediate family or, if Licensee is an entity, between or among the owners of Licensee provided
        that such transfer Is otherwise permissible under thIs Agreement.

                U,       CONDITIONS FOR APPROVAL OP TRANSFER.

                 The proposed transferee and its owners (If the proposed transferee Is an entity) must
        meet our then applIcable standards for licensees, In addition, If the transfer Is one of a series of
        transfers which In the aggregate constitute the transfer of the License or the Restaurant or a
        controlling interest In the Licensee, all of the following conditions must also be met prior to, or
        concurrently wth, the effective date of the transfer

                         (1)     the transferee must have sufficient business experience, aptitude and
                                 financial resources to operate the Restaurant;



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                         (2)     prior to the effective date of the transfer, you or the transferee must pay
                                 all royalty fees, Marketing Fund contributions and all other amounts
                                 owed to us or our subsidiaries and affiliates! which are then due and
                                 unpaid, and cure all defaults under this Agreement or any other
                                 agreement between you and us to our satisfaction (or make provision for
                                 their cure satisfactory to us);

                         (3)     the transferee and Its management personnel must have completed our
                                 training program to our satisfaction;

                         (4)    the transferee must apply for a new license agreement in accordance
                                with our then current standards for a term equal to the remaining term of
                                this Agreement or for a fuil term. If the application is approved, we and
                                the transferee will enter into a temporary agreement to govern the
                                operation of the Restaurant until commencement of the new license
                                agreement, provided that the transferee upgrades and modernizes the
                                Restaurant to our then-current standards and meets the other
                                requirements;

                        (5)     you or the transferee must pay us the then current transfer fee to defray
                                expenses incurred by us, pius any broker fees or commissions Incurred
                                by us in connecton with the transfer

                         (6)    you, and If you are an entity, your owners, officers and directors must
                                execute a general release, In a form satisfactory to us, of any and aN
                                existing claims against us, our subsidiaries and affiHates, and our and
                                their officers, directors, partners, employees and agents;

                        (7)     we must approve the material terms and conditions of such transfer,
                                including, without limitation, our determination that the price and terms of
                                payment are not so burdensome as to adversely affect the subsequent
                                operation or financial results of the Restaurant

                        (8)     you and your transfening owners must execute a non-competition
                                covenant in favor of us and the transferee, containing the terms
                                contained in Section leA;

                        (9)     the lessor and lender, if any, of the Premises must give you its or their
                                advance written consent to the transfer of the Premises, if required, and
                                you must provide us with a copy of such consent; and

                        (10)    you and your owners must guarantee the transferee’s financial
                                obflgations to us in its commitment agreement and license agreement for
                                two years from the date of transfer.

                If the proposed transfer is to or among owners of you, subsection (5) of the above
        requirements shall not apply.

                E.      TRANSFER TO A WHOLLY-OWNED ENTITY,

                 If you are in full compliance with this Agreement, we will not unreasonably withhold our
        approval of a transfer to an entity which conducts no business other than the Restaurant (or other
        Perkins restaurants), which is actually managed by you and in which you maintain management
        control and own and control one hundred percent (100%) of the equity and voting power of all
        issued and outstanding securities, provided that you guarantee, In accordance with our then


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        current torn, the performance of such transferee’s obligations under this Agreement. Transfers
        of Interests in such entity will be subject to the other provisions of this Section 12.

                 F.      DEATH OR DISABILITY OF LICENSEE.

                 Upon your death or permanent disability, or, if you are an entity, upon the death or
        permanent disability of the owner(s) of a controlling interest in you, the executor, administrator,
        conservator, guardian or other personal representative of such person must transfer its interest in
        this Agreement, the License, the Restaurant, or its interest in you, to a third party who meets our
        then-current qualifications for licensees and whom we approve. The disposition of this
        Agreement, the License, the Restaurant, or such interest in you (including, without limitation,
        transfer by bequest or inheritance), must be completed within a reasonable time, not to exceed
        six (6) months from the date of death or permanent disability, and will be subject to all the terms
        and conditions appilcabie to transfers contained in This Section 12, Failure to so transfer the
        Interest in this Agreement and the License or such interest in the Restaurant or the Licensee
        within such period of time will constitute a breach of this Agreement.

                 0.      EFFECT OF CONSENT TO TRANSFER.

                 Our consent to a transfer of this Agreement, the License, the Restaurant or an interest in
        you will not constitute a waiver of any claims we may have against you (or your owners if you are
        an entity), nor shall it be deemed a waiver of our right to demand exact compliance with any of
        the terms or conditions of this Agreement by the transferee.

                 H.      INVESTMENT OFFERINGS,

                  In the event that you (or any of your owners) shall, subject to the restrictions and
        conditions of transfer contained in this Section 12, attempt to raise or secure funds by the sale of
        securities (including, without limitation, common or preferred stock, bonds, debentures or general
        or limited partnership Interests) by means of any investment offering, whether public or private,
        recognizing that the written information concerning us, the System, this Agreement, or cur
        relationship used with respect thereto may reflect upon us, you agree to submit any such written
        information to us prior to its inclusion In any registration statement, prospectus or similar offering
        circular or memorandum. You agree to promptly reimburse us for any out-of-pocket expenses
        incurred by us incurred in such review, including the fees of our attorneys and accountants. Our
        written consent obtained pursuant to this Section 120 shall not Imply or constitute our approval
        with respect to the sale of the securities, the offering literature submitted to us or any other aspect
        of the offering. No information respecting us may be included in any securities disclosure
        document unless such Information has been furnished to us, In writing, pursuant to your written
        request, in which you state the specific purpose for which the information is to be used. Should
        we, in our sole discretion, object to any reference made about us or our business in such offering
        literature or prospectus, such literature or prospectus shalt not be used unless and until our
        objections are withdrawn. We assume no responsibility for the offering whatsoever.

               The prospectus or other literature utilized in any such offering shall contain the following
        ianguage in bold-face type on the first textual page thereof:

                “PERKINS & MARIE CALLENDER’S, LLC IS NOT DIRECTLY OR INDIRECTLY THE
                ISSUER OF THE SECURITIES OFFERED HEREBY AND ASSUMES NO
                RESPONSIBILITY WITH RESPECT TO THIS OFFERING AND/OR THE ADEQUACY
                OR ACCURACY OF THE INFORMATION SET FORTH HEREIN, INCLUDING ANY
                STATEMENTS MADE WiTH RESPECT TO IT. PERKINS & MARIE CALLENDER’S,
                LLC COMPANY DOES NOT ENDORSE OR MAKE ANY RECOMMENDATION WITH
                RESPECT TO THE INVESTMENT CONTEMPLATED BY THIS OFFERING.



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                 You and each of your owners agree to indemnify, defend and hold harmless us and our
        officers, directors, partners, employees and agents from any and all claims, demands, liabilifles,
        and all costs and expenses (inciuding, without limitation, reasonable attorneys’ fees) incurred In
        the defense of such ciaims, demands or liabilities, arising from the offer or sale of such securitias,
        whether asserted by a purchaser of any such security or by a governmental agency. We shall
        have the right (but not the obligation) to defend any such claims, demands or liabilities andfor to
        participate in the defense of any action to which we are named as a party with counsel of our own
        choosing, au of whose fees and expenses wifl be subject to indemnification hereunder.

        13.     CONDEMNATION AND CASUALTY.

                 You must give us immediate notice in writing of any proposed taking of the Restaurant or
        the Premises by eminent domain, if we agree that the Restaurant or the Premises (or substantial
        parts thereofl will be taken, we will give due and prompt consideration to transferring the License
        to a nearby location which you seiect within two (2) months of the taking. If we approve the
        location and authorize the transfer, and if you open a new restaurant at such location in
        accordance with our specifications within one (1) year of the closing of the Restaurant the new
        restaurant will henceforth be deemed to be the Restaurant under this AgreemenL If a
        condemnation takes place and the new restaurant does not, for whatever reason, become the
        Restaurant under this Agreement in strict accordance with this Section 13 (or if it is reasonably
        evident that such wtl be the case), the License and this Agreement wfli terminate as provided for
        in Section 14.

                 if the Restaurant is damaged by fire or other casualty, you wfli expeditiously repair the
        damage. If the damage or repair requires closing the Restaurant, you will immediately notify us,
        will repair or rebuild the Restaurant in accordance with our standards, wIN commence
        reconstruction within four (4) months after closing, and will reopen the Restaurant for continuous
        business operations as soon as practicabie but in no event later than twelve (12) months after
        closing of the Restaurant, giving us ample advance written notice of the date of reopening. if the
        Restaurant is not reopened in accordance with this Section 13, the License and this Agreement
        will terminate as prescribed in Section 14.

                Nothing in this Section 13 wHi extend the term of this Agreement but you will not be
        required to pay us any royalty fee or Marketing Fund contribution payments for periods during
        which the Restaurant Is closed by reason of condemnation or casuaity.

        14.     TERMINATiON OF THE LICENSE,

                (A)       Uniess cured to our satisfaction, this Agreement shaH terminate 30 days from the
        date notice is given to you in accordance with Section 19, If you or any guarantor

                         (1)      fail to report accurately the Gross Sales of the Restaurant or fali to make
                                  payments of any amounts due to us fbr royaity fees, Marketing Fund
                                  contributions, or any other amounts due to us, our affiliates or our
                                  subsidiaries;

                         (2)     fail to compiy with any other provision of this Agreement or any
                                 mandatory specification, standard or operating procedure we prescribe
                                 unless however, such fatiure cannot reasonably be corrected within such
                                 thirty (30) day period and you undertake within ten (10) days after such
                                 written notice is delivered to you, and dfligentiy thereafter continue,
                                 efforts to bring the Restaurant and the Premises into fuli compliance, and
                                 furnish proof acceptable to us of such efforts and the date by which full
                                 compliance will be achieved;



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                         (3)     have made any material misrepresentation to us regarding your
                                 organizational or financial structure or financial condition;

                         (4)     you or any person controlling you, controlled by you, or under common
                                 control with you is in default of any other agreement with us (for
                                 purposes of this clause control means the ownership by a person or
                                 entity, directly or Indirectly, of 10% or more of another person or entity or
                                 the power to affect the policies of another person or entity);

                         (5)     in our good faith reasonable judgment, fail to employ on a fuli time basis
                                 a qualified Restaurant Operations Director and Restaurant Managers
                                 with qualifications and experience acceptable to us.

                (B)       Unless we have notified you in writing to the contrary after discovering the
        relevant facts, this Agreement will terminate automatically and immediately without further action
        by us or notice to you, if you:

                         (1)     become Insolvent or are unabie to pay your or their debts as they mature
                                 or make an assignment for the benefit of creditors or an admission of
                                 inabflity to pay obligations as they become due or file a voluntary petition
                                 in bankruptcy or any pleading seeking any reorganization, liquidation,
                                 dissolution or composition or other settlement with creditors under any
                                 law, or admit or fail to contest the material allegations of any such
                                 pieading filed against you, or are adjudicated a bankrupt or insoivent or a
                                 receiver or other custodian is appointed for a substantial part of your
                                 assets or the Restaurant or a final judgment remains unsatisfied or of
                                 record for ninety (90) days or longer (unless a supersedeas bond is
                                 flied), or if execution is levied against any substantial part of your assets
                                 or a tax levy is made, or suit to foreclose any lien or mortgage against
                                 you or the Restaurant Is instituted and is not dismissed within ninety (90)
                                 days, or if a substantial part of your real or personal property is sold after
                                 levy of judgment thereupon by any sheriff, marshal or oonstable, or the
                                 claims of your creditors are abated or subject to a moratorium under any
                                 law;

                         (2)     except as provided in Section 13, discontinue operating the Restaurant
                                 as a Perkins restaurant, or abandon, surrender or transfer control of the
                                 Restaurant without our prior approval;

                         (3)     have made any material misrepresentation or omission in the application
                                 for the License or in the Commitment Agreement or in this Agreement or
                                 in any other material submitted to us on which we have relied in
                                 determining whether to grant you the License;

                         (4)     are, or are discovered to have been, convicted of or plead no contest to
                                 a felony, or other crime or offense that Is likely to adverseiy affect your
                                 reputation or the reputation of the Company, the System, or the
                                 Restaurant;

                         (5)     make or attempt to make an unauthorized transfer in violation of Section
                                 12;




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                         (6)      make any unauthorized use or disclosure of any Confidential Information
                                  or any portion or the Operations Manual;

                         (7)      lose the right to possession of the Premises or a substantial part thereof,
                                  whether or not due to your fault, except as otherwise provided as in
                                  Section 13 of this Agreement regarding condemnation and casualty;

                         (8)      take action toward dissolving or liquidating the entity owning the License,
                                  or any such action Is taken against you, without providing us advance
                                  written notice or complying with Section 12 of this Agreement;

                         (0)      deny our representatives the right to enter and Inspect the Restaurant or
                                  to examine or audit its books and records;

                         (10)     make any unauthorized use of the Marks or contest in any court or
                                  proceeding our ownership of the Marks or the System or any part
                                  thereof;

                         (11)    fail on three (3) or more separate occasions, for which notices of default
                                 were given, within any period of twelve (12) consecutive months to
                                 comply with this Agreement whether or not such failures to comply are
                                 corrected after notice of default is given, or rail on two (2) or more
                                 separate occasions, for which notices of default were given, within any
                                 period of twelve (12) consecutive months to compiy with the same
                                 obligation under this Agreement whether or not suoh fauures to compiy
                                 are corrected after notice of default is given; or

                         (12)    you breach a material obligation, representation or warranty contained In
                                 this Agreement and such breach by its nature cannot be cured.


                 in any Judicial proceeding in which the validity or termination is at Issue, we will not be
        limited to relying on the reasons for termination which are set forth in any notice sent to you In
        accordance with this Section 14.

                (C)     You may terminate this Agreement at any time by giving us at least twelve (12)
        but not more than fifteen (15) months written notice.

                 CD)       Our rights to terminate this Agreement are in addition to all rights or remedies
        available at law or in equity in case of any breach, failure or default, or threatened breach, failure
        or default, all of which rights and remedies shall be cumulative and not alternative.




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        15.     DAMAGES.

                  Except as otherwise provided in this Agreement, if this Agreement and the License
        granted hereby terminate under any of the provisions of Section 14 of this Agreement, you agree
        to promptiy pay us (as liquidated damages for the loss of the benefit bargained for in this
        Agreement due to premature termination only, and not as a penalty or as damages for breaching
        this Agreement or in Heu of any other payment) a lump sum equal to the royalty fees and
        Marketing Fund contributions payabe to us during the thirty-six (36) calendar months immediately
        preceding the termination. in the event the Restaurant shall not have been open for thirty-sIx (36)
        months prior to termination, the monthly average of such payments during such shorter period
        shall be muitiptied by thirty-six (36) for purposes of this section, in the event there are fewer than
        thirty-six (36) months remaining In the term hereof, the amount you agree to pay shafl be equai to
        the number of months remaining in the term of this Agreement multipfled by the average monthly
        royalty fees and Marketing Fund contributions payabie to us during the thirty-six (36) months
         immediately preceding termination.

                if we are unable to determine the amount payable to us by you by reason of your faIlure
        to submit some or all of your Gross Sales reports as required pursuant to Section 10 of this
        Agreement, you agree that we may estimate the Gross Sales of your Restaurant for the
        applicable periods described above for the purpose of computing the amount psyabie to us by
        you under this Section 15.

        16.     COVENANT NOT TO COMPETE: RIGHTS AND OBLIGATIONS OF COMPANY AND
                LICENSEE UPON TERMINATION OR EXPIRATION OF THE LICENSE.

                A.       COVENANT NOT TO COMPETE.

                 You acknowledge and agree that we have Invested a substantial amount of time and
        money in developing the System, the Marks, and the Confidential Information and that we would
        be unable to protect our System the Marks1 Confidential Information and trade secrets against
        unauthorized use or disclosure and would be unable to encourage a free exchange of ideas and
        informatIon among us and our licensees If prospective licensees or licensees were permitted to
        hold interests in or perform services for any competing business and that the following restrictIons
        are reasonably required in order to protect our information, marketing strategies, operating
        policies and other elements of the System from unauthorized appropriation, Therefore, you agree
        that during the term of this Agreement, neither you, your Restaurant Operations Director nor any
        of your officers, directors, stockholders, partners or any member of your or their Immediate family
        or families will have any direct or Indirect or beneficial interest or perform services as an officer,
        director, manager, employee or consultant or otherwise for or In any business which owns,
        operates, licenses1 franchises or develops restaurants which are the same as or similar to that of
        Perkins restaurants or which otherwise competes with Perkins restaurants. You understand and
        acknowledge that the determination of any similarity to or competition with Perkins restaurants is
        dependent on many factors including, but not limited to, marketing strategIes; menu; guest check
        average; size, configuration, decor and “trade dress” of the restaurants; operating methods and
        poilcies; target audience demographic profile; and hours of service. You further understand
        because of the possibilIty of changes in the System and the emergence of new unforeseen
        competing restaurant concepts, that determining whether or not any competing restaurant
        business Is the same or similar to Perkins restaurants will depend on the facts and circumstances
        existing at the time such determination is made. You further agree that for a period of two (2)
        years after the termination or expiration of this Agreement, you and au of such persons will be
        subject to the same restriction on competing activities within the trade area (the “Trade Area”) of
        the Restaurant or within the trade area (as reasonably determined by us) of any Perkins
        restaurant operated by us or any other licensee of ours, but in no event within a radius of three
        (3) miles from any such restaurant. The Trade Area is that area contained within a 3 mile radius
        of the Restaurant. You acknowledge that the determination of the Trade Area is based on many

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        factors some of which are subjective, and that the Trade Area as described in this Agreement is
        reasonable under the circumstances. For purposes hereof, an indirect interest will be presumed
        to exist if such interest Is that of the spouse or of a parent or child of another person, in addition to
        other forms of indirect or beneficial Interests. If any of the persons to whom the foregoing
        restrictions apply are not parties to this Agreement, you agree to cause all such persons to
        execute and deliver to you and us an agreement containIng the foregoing restrictions, The
        restrictions of this Section shall not be appflcabie to the ownershIp of a Perkins restaurant
        operated pursuant to a License Agreement with us or to the ownership of shares of a class of
        securities listed on a stock exchange or traded on the over-the-counter market that represent five
        percent (5%) or less of the number of shares of that class of securities issued and outstanding.
        You further acknowledge that this section confers no fights of exclusivity on you with respect to
        your operation of a Perkins restaurant within the Trade Area and wifl not prevent us from placing
        another Perkins restaurant or other food service estabflsliment within the Trade Area.

                 B.      PAYMENT OF AMOUNTS OWED TO COMPANY.

                 You must pay to us within fifteen (15) days after the effective date of termination or
        expiration of this Agreement, or such later date that the amounts due to us are determined, all
        royalty fees, Marketing Fund contrIbutions, amounts owed for your purchases from us or our
        subsidiaries and affiliates, predecessors, successors and assigns, interest due on any of the
        foregoing, and all other amounts owed to us or our subsIdiaries and affiliates under this
        Agreement or otherwise.

                 C,       MARKS AND SYSTEM.

                 You agree that immediately after the termination or expiration of this Agreement, you will:

                          (1)     not directiy or indirectly at any time or in any manner identify yourself or
                                  any business as a current or former Perkins restaurant, or as a
                                  franchisee or licensee of, or as otherwise associated with us, or use any
                                  Mark or any colorable imitation thereof in any manner or for any purpose,
                                  or utilize for any purpose any trade name, trade or service mark or other
                                  commercial symbol that suggests or Indicates a connection or
                                  association wIth us;

                          (2)      remove from the Premises and discontinue using for any purpose the
                                   oversized American flag and the bakery display cases;

                          (3)      remove from the Premises, discontinue using for any purpose and return
                                   to us (or with our consent, destroy) any and all signs, flags, menus,
                                   fixtures, furniture, furnishings, equipment, advertising, materials,
                                   stationery supplIes, forms or other articles that display or contain any
                                   Mark or that otherwise identify or relate to a Perkins restaurant;

                          (4)      remove au Marks that are affixed to uniforms and/or, at our direction,
                                   cease to use afl uniforms that have been used in the Restaurant;

                          (6)      take such action as may be required to cancel all fictitious or assumed
                                   name or equivalent registrations relating to your use of any Mark;

                          (6)      change the telephone number of the Restaurant and direct the telephone
                                   company to provide a recorded message advising callers that the prior
                                   number is no longer in service, and instruct aK telephone directory
                                   publishers to modify all teiephone directory listings of the Restaurant
                                   associated with any Marks when the directories are next published;


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                         (7)     terminate or assign to us, as we may elect, any website that IdentIfies
                                 you as currently or formerly associated with us or that displays any Mark,
                                 as well as any domain name of such website, and you acknowledge that
                                 we shall have the sole right to any such domain name;

                         (8)     take such action to alter the physical interior and exterior decor of the
                                 Restaurant (specifically including, but not limited to, removing distinctive
                                 architectural features of or on the building) as will effectively de-identify
                                 and distinguish the Premises from the System; and

                         (9)      furnish to us, within thirty (30) days after the effective date of termination
                                  or expiration, evidence satisfactory to us of your compliance with the
                                  foregoing obligations.

                   In the event that you faii to take such actions as required above to our satisfaction within
        thirty (30) days of termination or expiration of this Agreement, you grant us the right to enter the
        Premises to remove au items bearing the Marks and take such actions as we deem necessary to
        de-identify the Restaurant from the System without committing any trespass or incurring any
        liability for such actions. You acknowledge and agree that you will be responsible for all costs and
        expenses that we incur in taking such actions.

                D,       CONFIDENTIAL INFORMATION.

                You agree that upon termination or expiration of this Agreement, you will immediately
        cease to use in any business or otherwise any of our Confidential Information disclosed to, or
        otherwise learned or acquired by you, and that you wW return to us all copies of the Operations
        Manual and all other Confidential Information which we have loaned or made available to you or
        which is otherwise in your possession. You must also provide us with any and all supplies of our
        flour and other proprietary mixes for which you wlil be compensated at the lower of their cost or
        market value.

                E.       CONTINUING OBLIGATIONS,

                All obligations of the Company and Licensee which expressly or by their nature survive
        the expiration or termination of this Agreement shall continue in full force and effect subsequent
        to and notwithstanding its expiration or termination and until they are satisfied in full or by their
        nature expire.

        17.     RENEWAL OF LICENSE,

                 You understand that you have no unilateral right to renew or extend this Agreement or to
        obtain a new license to operate the Restaurant beyond the expiration date provided for in this
        Agreement. However, if you desire to obtain a new license upon the expiration of this
        Agreement, you must apply to us for a new license agreement at least ninety (90) days, but not
        more than twelve (12) months1 before expiration of the term of this Agreement. Upon payment of
        a renewal fee, which will not exceed our then standard initial license fee, we will process your
        application In good faith and in accordance with our procedures, criteria and requirements
        regarding upgrading of facilities, credit, market feasibility and related criteria then being applied
        by us in issuing new licenses to use the System, if you fulfill our upgrading and other then-
        current requirements, we will granl you a new license in the form of agreement then in use by us.
        If you are granted a new license, you (and if you are an entity, your owners) will be required to
        execute a general release, in a form satisfactory to us, of any and all claims against us and our
        subsidiaries, affiliates, partners, successors and assigns, and our and their respective officers,
        directors, shareholders, partners, agents, employees, representatives and servants, including
        claims arising under this Agreement and federal, state and local laws, rules and regulations. If


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        you are not granted a new license, we will return the renewal fee less expenses Incurred in
        processing your application,

                During the pendency of your application for the Issuance of a new license1 royalty fees
        and Marketing Fund contributions will be paid at the rate specified In this Agreement. Upon
        issuance of the new license agreement, fees must be paid at the rates specified in the new
        license agreement, which may be greater than the rates specified In this Agreement.

        18.     ENFORCEMENT.

                A,       SEVERABILITY AND SUBSTITUTION OF VALID PROVISIONS,

                  Except as expressly provided to the contrary, each section, paragraph, term and
        provision of this Agreement, and any portion thereof1 shall be considered severable and if, for any
        reason, any such provision of this Agreement is held to be invalid, contrary to, or in conflict with
        any applicable present or future law or regulation In a final, unappealable ruling issued by any
        court, agency or tribunal with competent jurisdiction in a proceeding to which we are a party, that
        ruling shall not impair the operation of, or have any other effect upon, such other portions of this
        Agreement as may remain otherwise enforceable, all of which shall continue to be given full force
        and effect and bind the parties to this Agreement although any portion held to be invalid shah be
        deemed not to be a part of this Agreement from the date the time for appeal expires, If you are a
        party thereto, or otherwise upon your receipt of a notice of non-enforcement thereof from us. To
        the extent that any provision of Section 120(8) or Section 16A is deemed unenforceable by virtue
        of Its scope in terms of area, business activity prohibited and/or length of time, but could be made
        enforceable by reducing any or all thereof, you and we agree that such provisions shall be
        enforced to the fullest extent permissible under the laws and public policies applied in the
        jurisdiction in which enforcement is sought, If any applicable and binding law or rule of any
        jurisdictIon requires a greater prior notice of the termination of or refusal to renew this Agreement
        than is required under this Agreement, or the taking of some other action not required under this
        Agreement, or If under any applicable and binding law or rule of any jurisdiction, any provision of
        this Agreement or any specification, standard or operating procedure we prescribe Is invalid or
        unenforceable, the prior notice and/or other action required by such law or rule shall be
        substituted for the comparable provisions of this Agreement, and we wIN have the right, In our
        sole discretion, to modify such Invalid or unenforceable provision, specification, standard or
        operating procedure to the extent required to be valid and enforceable. You agree to be bound
        by any promise or covenant imposing the maximum duty permitted by law which is contained
        within the terms of any provision of this Agreement, as though it were separately articulated in
        and made a part of this Agreement, that may result from striking from any of the provisions of this
        Agreement, or any specification, standard or operating procedure that we prescribe any portion
        or portions which a court may hold to be unenforceable in a final decisIon to which we are a party,
        or from reducing the scope of any promise or covenant to the extent required to comply with such
        a court order. Such modifications to this Agreement shall be effective only In such jurisdiction,
        unless we elect to give them greater applicability, and shall be enforced as originally made and
        entered Into In all other jurisdictions.

                B.       WAIVER OF OBLIGATIONS.

                  You and we may by written Instrument unilaterally waive or reduce any obligation of or
        restriction upon the other under this Agreement, effective upon delivery of written notice thereof to
        the other or such other effective date stated in the notice of waiver. Any waiver granted by us
        shaH be without prejudice to any other rights we may have, will be subject to continuing review by
        us, and may be revoked, in the good Faith exercise of our sole discretion, at any time and for any
        reason, effective upon delivery to you often (10) days’ prior written notice. You and we shail not
        be deemed to have waived or impaired any right, power, or option reserved by this Agreement
        (including, without limitation, the right to demand strict compliance with every term, condition, and
        covenant herein, or to declare any breach thereof to be a default and to terminate the License

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        prior to the expiration of its term), by virtue of any custom or practice of the parties at variance
        with the terms hereof; any failure, refusal, or neglect by you or us to exercise any right under this
        Agreement or to Insist upon exact comptiance by the other with Its obligations hereunder,
        including, without limitation, any mandatory specification, standard, or operating procedure; any
        waiver, forbearance, delay, failure, or omission by us to exercise any right, power, or option.
        whether of the same, similar or different nature, with respect to any other Perkins restaurant; or
        the acceptance by us of any payments from you after any breach by you of this Agreement.

                C.       FORCE MAJEURE.

                 Neither you nor we shall be habie for loss or damage or deemed to be In breach of this
        Agreement if a failure to perform particular obligations results from: (I) transportation shortages,
        Inadequate supply or unavailability from the manufacturers or suppliers of equipment,
        merchandise, supplies, labor, material, or energy, or the voluntary surrender of the right to
        acquire or use any of the foregoing in order to accommodate or comply with the orders, requests,
        regulations, recommendations, or instructions of any federal, state, or municipal government or
        any department or agency thereof; (U) compliance with any law, ruling, order, reguiation,
        requirement or instruction of any federal, state or municipal government or any department or
        agency thereof; (UI) acts of God; (lv) fires, strikes, embargoes, war or dot; or (v) any other similar
        event or cause.

                Any delay resulting from any of such causes shall extend the time for performance or
        excuse performance, in whole or In part, as may be reasonable, except that such causes shall not
        excuse payments of amounts owed at the time of such occurrence or payment of any amounts
        due thereafter.

                 0.      INJUNCTIVE RELIEF,

                 You agree thai we will have the right to preliminary injunctive relief to restrain any
        conduct by you in the development or operation of the Restaurant that could materially damage
        the goodwill associated with the System, the Marks and Perkins restaurants. You agree that we
        will not be required to post a bond to obtain injunctive relief, that your only remedy if an Injunction
        is entered against you will be the dissolution of that injunction, and that you wlil not have any right
        to recover damages for wrongful entry of such an injunction.

                 E.      RIGHTS OF PARTiES ARE CUMULATIVE,

                 Your and our rights under this Agreement are cumulative and no exercise or enforcement
        by you  or us of any right or remedy hereunder shall preclude the exercise or enforcement by you
        or either of us of any other right or remedy hereunder or which you or wa are entitled by law to
        enforce.

                 F.      COSTS AND ATTORNEYS’ FEES.

                 In any proceeding by us to enforce or interpret any provision of this Agreement, or appeal
        thereof, the party prevailing in such proceeding shall be entitled to reimbursement of its costs and
        expenses, including but not limited to, reasonable accounting and attorneys’ fees. Attorneys’ fees
        shall Include, without limitation, reasonable legal and expert witness fees, cost of investigation
        and proof of facts, court costs, other litigation expenses and travel and living expenses, whether
        Incurred prior to or in preparation for or in contemplation of the filing of any written demand or
        claim, action, hearing or proceeding. In any such proceeding involvIng more than one allegation,
        issue or provision of this Agreement under circumstances where neither party prevails on all
        allegations or issues, the presiding court or other body may apportion costs and expenses
        between the parties.



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                G.      GOVERNING LAW, VENUE AND JURISDICTION.

               EXCEPT TO THE EXTENT GOVERNED BY THE UNITED STATES TRADEMARK ACT
        OF 1946 OR OTHER FEDERAL LAW, THIS AGREEMENT AND THE LICENSE SHALL BE
        GOVERNED BY THE LAWS OF THE STATE OF TENNESSEE WITHOUT REGARD TO
        CONFLICT OF LAWS RULES. YOU AGREE THAT WE MAY INSTITUTE ANY ACTION
        AGAINST YOU TO ENFORCE THE PROVISIONS OF THIS AGREEMENT IN ANY STATE OR
        FEDERAL COURT OF COMPETENT JURISDICTION IN THE STATE AND COUNTY IN WHICH
        OUR PRINCIPAL PLACE OF BUSINESS Is THEN LOCATED AND YOU IRREVOCABLY
        SUBMIT TO THE JURISDICTION AND VENUE OF SUCH COURTS AND WAIVE ANY
        OBJECTION YOU MAY HAVE TO EITHER THE JURISDICTION OR VENUE OF SUCH
        COURTS. YOU AGREE THAT ANY ACTION BROUGHT BY YOU TO ENFORCE ANY
        PROVISION OF THIS AGREEMENT WiLL SE BROUGHT AND MAINTAINED ONLY IN A
        STATE OR FEDERAL COURT OF COMPETENT JURISDICTION IN ThE COUNTY AND STATE
        IN WHICH OUR PRINCIPAL PLACE OF BUSINESS IS THEN LOCATED.

                H.      WAIVER OF PUNITIVEI’EXEMPLARY DAMAGES.

               THE PARTIES HEREBY WAIVE TO THE FULLEST EXTENT PERMITTED BY LAW,
        ANY RIGHT OR CLAIM TO ANY PUNITIVE OR EXEMPLARY DAMAGES AGAINST THE
        OTHER AND AGREE THAT IN THE EVENT OF A DISPUTE BETWEEN THEM EACH SHALL
        BE LIMITED TO THE RECOVERY OF ANY ACTUAL DAMAGES SUSTAINED.

                I,      WAIVER OF JURY TRIAL.

              THE PARTIES HEREBY IRREVOCABLY WAIVE TRIAL BY JURY IN ANY ACTION,
        PROCEEDING OR COUNTERCLAIM, WHETHER AT LAW OR IN EQUITY, BROUGHT BY
        EITHER OF THEM.

                J.       BINDING EFFECT.

                 This Agreement is binding upon the parties hereto and their respective executors,
        administrators, heirs, assigns and successors In Interest, and shall not be modified except by
        written agreement signed by both you and us.

                K.       INTERPRETATION.

                  The preambles and attachmentss are a part of this Agreement, which constitutes the
        entire agreement of the parties, and there are no other oral or written understandings or
        agreements between the Company and the Licensee relating to the subject matter of this
        Agreement except for the Commitment Agreement, certain portions of which survive the
        execution and delivery of this Agreement. In the event of a conflict between this Agreement and
        the Commitment Agreement (If applicable), the provisions of this Agreement shall control.
        However, and notwithstanding the foregoing, nothing in this Agreement is Intended, or shall be
        interpreted, to disclaim any representations made by Licensor in the Franchise Disclosure
        Document that Licensor furnished to Licensee, This Agreement may be modified only by a
        writing signed by both you and us. Nothing in this Agreement is intended, nor shall be deemed,
        to confer any rights or remedies upon any person or legal entity not a party hereto. Except where
        this Agreement expressly obligates the Company to reasonably approve or not unreasonably
        withhold Its approval of any action or request by the Licensee, the Company has the absolute
        right to refuse any request by the Licensee or to withhold its approval of any action or omission by
        the Licensee. The headings of the several sections and paragraphs hereof are for convenience
        only and do not define, limit, or construe the contents of such sections or paragraphs. The term
        “attorneys’ fees” shall include, without limitation, reasonable legal fees, whether incurred prior to,
        in preparation for or in contemplation of the filing of any written demand or claim, action, hearing
        or proceeding, Including appellate proceedings, to enforce the obligations of this Agreement. The

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        term “family member” as used herein refers to parents, spouses, offspring and siblings, and the
        spouses of parents and siblings. The term “afflUate” as used herein means any person or entity
        that directiy or lndlrectiy owns or controls, or is owned or controlied by, or is under common
        control with, another person or entity. References to a “controlUng interest’ in the Licensee shall
        mean fifty percent (50%) or more of the voting control of the LIcensee or such lesser percentage
        that may have the power to control the management and affairs of the Restaurant or the
        Licensee. The term “LIcensee” as used herein is applicable to one or more persons, a
        corporation or a partnership or other entity, as the ease may be, and the slnguiar usage Includes
        the plural and the masculine and neuter usages include the other and the feminine, if two or
        more persons are at any time the Licensee hereunder, whether or not as partners or joInt
        venturers, their obligatIons and liabilities to the Company shall be joint and several. This
        Agreement may be executed in counterparts, each of which shall be deemed an ohglnai.

                L.      IiM. Time is of the essence of this Agreement.
        19.     NOTiCES AND PAYMENTS.

                 All written notices and reports permitted or required to be delivered hereunder shall be
        deemed so delivered at the time delivered by hand, the day of transmission by facsimile or other
        electronic system, one (1) business day after beIng placed In the hands of a commercial courier
        seMce for overnight delivery or three (3) business days after placement in the United States Mall
        by Registered or Certified Mall, Return Receipt Requested, postage prepald and addressed to the
        party to be notified at Its most current principal business address of which the notifying party has
        been notified. All payments and reports required by this Agreement shall be directed to the
        Company at the address notified to the Licensee from time to time, or to such Qther persons and
        places as the Company may direct from time to time, Any required payment or report not actually
        received by the Company during regular business hours on the date due (or postmarked by
        postal authorities at least two (2) days prior thereto) shall be deemed delinquent.

        20,     ACKNOWLEDGMENTS.

               Contemporaneously with the execution of this Agreement, you have carefully reviewed
        and executed the Disclosure Acknowledgment Statement attached and incorporated into this
        Agreement as Attachment A.

                 You acknowledge that, due to the length of time we have been granting Acenses to
        operate Perkins restaurants, there Is more than one form of franchise or lIcense agreement In
        effect between us and our various licensees and that such agreements contain provisions that
        may be materially different from the provisions contained in this Agreement and that you are not
        entitled to rely on any provisIon of any other such agreement, whether to establish course of
        dealing, waiver, estoppel or for any other purpose.

                 IN WITNESS WHEREOF the parties hereto have executed and delivered this Agreement
        as of the Agreement Date,

        PERKINS & MARIE CALLENDER’S, LLC                          5171 CAMPBELLS LAND CO., INC.


        By:                                                       By:
                     Vice President
        Its:         Ccnci’&l Co’’nI                              Its:      f’7csioCcfr7
                     Secretary




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                                                   ATTACHMENT A

                                         TO THE LICENSE AGREEMENT
                                                  BETWEEN
                                      PERKINS & MARIE CALLENDER’S, LLC
                                                    AND
                                        5171 CAMPBELLS LAND CO., INC.


                                               Dated January 31, 2016

                                      Disclosure Acknowledgment Statement

                 PERKINS & MARIE CALLENDER’S, LLC (‘we” or “us”) through the use of this
        Disclosure Acknowledgment Statement, desires to ascertain that 5171 CAMPOELLS LAND
        CO., INC. (“you”) fully understand and comprehend that your execution of the agreement dated
        the date hereof for a license (the “License Agreement”) to own and operate a Perkins restaurant
        (the “Restaurant”) is a business decision, complete with its associated risks, and that it is our
        policy to verify that you are not reiying upon any oral or written statements, representations,
        promises or assurances or visuai observations relating to a Perkins restaurant which have not
        been authorized by us.

                          You recognize and understand that business risks, which exist in connection with
        the ownership, development and operation of any business, make the success or failure of the
        Restaurant subject to many variables, inciuding your skills and abilities, competition, interest
        rates, the economy, inflation, store location, operation, labor and suppiy costs, lease terms and
        costs, and the market place. You acknowledge that you have conducted an independent
        investigation of the business venture contempiated by the License Agreement and recognize that
        the success of the venture invoives substantial business risk and will be primarfly dependent
        upon your abhity as an independent businessman. You hereby acknowledge your wflhingness to
        undertake these business risks.

                 2,      You acknowledge that you have received and had the opportunity to personafly
        read and review, and that you comprehend and understand this Acknowledgment Statement and
        the License Agreement. You acknowledge that we have permitted you ample time and
        opportunity to consult with advisors of your own choosing about the potential benefits and risks
        associated with the operation of a Perkins restaurant and of entering into this Acknowledgment
        Statement and the License Agreement. You also ecknowledge that you have received and read
        carefully, and that you understand, the Franchise Disclosure Document (the “Disciosure
        Document”) prepared by us, and that we have not made any oral, written or visual claims,
        representations, promises, agreements, contracts, commitments, understandings or statements
        which contradict or are inconsistent with and not contained in the Disclosure Document, except
        as fohows (if no exceptions, write “None” and initial) ,%‘*‘—c_ —2e’r_———-..

                 3.       You agree and acknowledge that the decision to enter Into this business and
        undertake the risks inherent therein is in no manner predicated upon any oral, written or visuai
        representations, assurances, warranties, guarantees or promises made by us or any of our
        directors, officers, empioyees or agents (including any broker) as to the hkeflhood of success of
        the Restaurant,

                  4.     We expressiy disclaim the making of, and you acknowiedge that you have not
        received or relied upon, any information, representations, warranties, guarantees, inducements,
        promises or agreements, express or implied, oraliy or otherwise, from us or any of our directors,
        officers, employees or agents (including any broker) concerning the actual, average, projected or
        forecasted sales, revenues, profits, earnings or Nkehhood of success that you might expect to
        achieve from operating a Perkins restaurant, that are contrary to the statements made in the


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        Disclosure Document        except as follows (II no exceptions,         write   “None” and initial)
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                  5.      We expressly disclaim the making of, and you acknowiedge that you have not
        received or refled upon, any promises, agreements, contracts, commitments, representations,
        understandings, “side deais” or other assurances, express or implied, oraliy or otherwise, that we
        have made to or with you with respect to any matter regarding advertising, marketing, teievision,
         radio or other media support, site location, market penetration, or training, operating and support
         assistance or other services, that are contrary to the statements made in our Disclosure
         Document,      except as foflows (if no exceptions,                write None” and Initial)
        /ø.-,_&_ f--’-C

                  6,    You acknowledge that you have evaiuated on your own and have made an
        independent investigation of the site for the Restaurant and the lease or purchase agreement for
        the site. You acknowiedge that you bear primary responsibiflty for the selection of the site for the
        Restaurant and for negotiating the terms and conditions of your iease or purchase agreement for
        the site.

                 7,       You acknowledge that, although we have provided you with the plans and
        specifications for the Restaurant, have specified certain furniture, fixtures and equipment for the
        Restaurant, and have certain rights of review and/or approval under our Commitment Agreement
        and our License Agreement with you, that you have not received or relied upon, and we have not
        made, any warranty whatsoever, of the Restaurant or the plans, specifications, furniture, fixtures
        and equipment. You acknowledge That it is your sole responsibility to Insure that the Restauranes
        construction or conversion remodeflng compiles with any and ati appHcabie laws, codes or
        regulations. You acknowiedge that you are soiely responsible for, and that we wfll have no
        hability or obflgation, whatsoever, with respect to the pians, the construction or the converslon
        remodeflng of the Restaurant except to the limited extent contained in the Construction
        Management Agreement between us, If applicable,

                8.     You understand that the License Agreement is non-exclusive and that we or
        another Licensee may open one or more Perkins restaurants, or other restaurants, near your
        Restaurant.




        ACCEPTED AND AGREED TO BY:

        PERKINS & MARIE CALLENDER’S, LLC                  5171 CAMPBELLS LAND CO., INC.


        By:        t                                       By:______

        Its:   Vice President                              its:_____________________________
               General Counsel
               Secretary




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                                                  ATTACHMENT B

                                        GUARANTEE AND ASSUMPTION
                                         OF LICENSEE’S OBLIGATIONS

                This Guaranty is from the undersigned officers, directors or owners of the licensee under
        the License Agreement (the ‘Agreement’) dated the date hereof between PERKINS & MARIE
        CALLENDER’S, LLC (“PMC”) and 5171 CAMPBELLS LAND GO,, INC. (the “Licensee”),

                 In consideration of and as an inducement to the execution of the Agreement by PMC,
        each person signing this Guaranty hereby personally and unconditionally, jointly and severally: (I)
        guarantees to PMC and its successors and assigns that the Licensee wiil punctually pay when
        due aH amounts required to be paid under the Agreement and perform each and every
        undertaking, agreement and covenant set forth in the Agreement; and (B) agrees to be personaily
        bound by, and personally liable for the breach of, each and every provision in the Agreement.
        Each of the undersigned further agrees to pay any and all expenses (including reasonable
        attorneys’ and accountants’ lees and expenses) incurred by PMC in enforcing any rights under
        this Guaranty,

                   Each of the undersigned waives: (i) acceptance and notice of acceptance by PMC of the
        undersigned’s obligations under this Guaranty; (Ii) notice of demand for payment of any
        indebtedness or nonperformance of any obligation guaranteed by the undersigned; (iH) protest
        and notice of default to any party with respect to the indebtedness or nonperformance of any
        obilgabons guaranteed by the undersigned; (iv) any right the undersigned may have to require
        that an action be brought against the Licensee or any other person as a condition of the
        undersigned’s Habihty; (v) all other notices and legal or equitabie defenses to which the
        undersigned may be entitied in the undersigned’s capacity as guarantor; and (vi) the right to a
        Jury trial in any action arising under this Guaranty or PMC’s dealings with the Licensee,

                 Any Indebtedness of Licensee owing to any of the undersigned or an entity owned or
        controlled by any of the undersigned is hereby subordinated to the obligations of Licensee owing
        to PMC. Each of the undersigned hereby agrees to not assert, or to permit such entity to assent,
        such claim or ask, demand or otherwise require such payment from Licensee until aM payments
        then due and payable are current and no delinquencies exist with regard to any of the obligations
        under the License Agreement or any other agreement between Licensee and PMC.

               Each of the undersigned agrees that he or she shall have no right of subrogation against
        Licensee and will not exercise any rights which it may acquire by way of subrogation under this
        Guaranty, by any payment made hereunder or otherwise, until all of the obligations owing from
        Licensee to PMC have been paid or performed in fuli.

                   Each of the undersigned consents and agrees that: (I) the undersigned’s direct and
        immediate llabflity under this Guaranty shall be joint and severai; (U) the undersigned will make
        any payment or render any performance required under the Agreement upon demand if the
        Licensee fails or refuses punctualiy to do so; (HI) the undersigned’s tiabflity whi not be contingent
        or conditioned upon PMC’s pursuit of any remedies against the Licensee or any other person,
        including any other guarantor; (lv) the undersigned’s liability wili not be diminished, relieved or
        otherwise affected by any extenson of time, credit or other indulgence which PMC may from time
        to time grant to the Licensee, any guarantor or to any other person, including, for example, the
        acceptance of any partial payment or performance or the compromise or release of any claims
        and no such indulgence shall in any way modify or amend this Guaranty; (v) the undersigned’s
        flabflity will not be diminished, relieved or otherwise affected by any amendment or modification to
        the Agreement and (vi) this Guaranty wilt continue and be irrevocable during the term of the
        Agreement and, as to those provisions of the Agreement that survive its termination or expiration,
        after its termination or expiration.




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                Any married person who signs this Guaranty hereby expressly agrees that recourse may
         be had against his or her separate property for any or all of his or her obligations under this
         Guaranty

                  This Guaranty shall be governed by, and construed under, the laws ci the State of
        Tennessee, without regard to its conflicts of law principles. Each of the undersigned hereby
        Irrevocably submits to the JurisdictIon of any state or federal court of competent jurisdiction in the
        state and county in which PMC’s principal place of business is then located and, further, agrees
        to submit to the Jurisdiction and venue of such courts and waives any objection to either the
        jurisdiction of venue of such courts.

         WITNE’                                                    GUARANTORS

                (k&           —-


         Dated;        1/2)0/ f                                    William T. Kane




         Dated:




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                                  ADDENDUM TO LICENSE AGREEMENT
                                      DATED JANUARY 31, 2018
                                          1601 Prospect Road
                                         Ashtabuia, Ohio 44004


                This Addendum (the    “   Addendum   )   dated as of January 31, 2018, (the “Addendum

       Date”) is made by and between Perkins & Marie Callender’s LLC (“ PMC”) and 5171 Campbells

       Land Co., Inc. (“Licensee”).

                                                     RECITALS

                 WHEREAS, on February 13, 2017. (Lhe “Petition Date”) Unique Ventures Group LLC

       (“UVG”) commenced a voluntary case under chapter 11 of the Bankruptcy Code in the United

       States Bankruptcy Court for the Western District of Pennsylvania (the “Bankruptcy Case”).

                 WHEREAS, on the Petition Date, PMC and UVG were parties to various agreements

       whereby PMC granted UVG a non-exclusive license to own and operate Perkins restaurants at

       various locations, including at 1601 Prospect Road, Ashtabula, Ohio 44004.

                  WHEREAS, on March 23, 2017, M, Colette Gibbons was appointed as the Chapter 11

       Trustee (the ‘Trustee”) in the Bankruptcy Case,

                  WHEREAS, the Trustee filed a motion to sell and assign substantially all of UVG’s assets

       including the license agreements between PMC and UVO.

                  WHEREAS, an order of court was entered establishing bid procedures for the sale and

       assignment of UVG’s assets which, inter alla, provided for procedures for potential bidders to

       seek approval from PMC as a licensee and scheduled a sale hearing for January 9, 2018 (the

       “Sale Hearing’).

                  WHEREAS, Licensee submitted a request to PMC seeking to be approved as a licensee.

                  WHEREAS, PMC has approved Licensee as a licensee conditioned upon (a) Licensee

       being the successful bidder at the Sale Hearing, (1,) evidence that Licensee has the financial



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       ability to close (including a binding commitment from its lender) and Cc) executibn by Licensee

       of Perkins’ slandard License Agreement guarantees from specified principals of Licensee and

       this Addendum.

                Wl-W REAS, Licensee was the successful bidder at the Sale Hearing.

                NOV, THE RBFORE, in consideration of the foregoing and other good and valuable

       consideration, the receipt and sufficiency of which are hereby acknowledged, PMC and Licensee

       hereby agree as follows:

                1.      This Addendum is entered into contemporaneously with the execution of the

       License Agreement for the Perkins restaurant at 1601 Prospect Road, Ashtabuia, Ohio 44004

       (the ‘License Agreement”) and is incorporated in and supplements the License Agreement as if

       ftiily set forth therein.

                 2.     Licensee agrees that it will comply with the standards established by PMC for

       operation of the restaurant including but not limited to training, service standards, menu standards

       and uniform standards (the “Standards”). During the terms of the License Agreement Licensee

       shall not seek to modify the Standards.

                 3.      Licensee represents and warrants that none of the principals or owners of t.IVG or

        the professionals which represented UVG have involvement in the operations, ownership or

        management of Licensee or representation of the Licensee in any capacity including on a

        professional basis.

                 4.      LIcensee agrees that none of the principals or owners of UVG or the professionals

        which represented UVG shall have any involvement In the operations, ownership or management

        of the License or shalL represent the Licensee in any cnpacity including on a professional basis.

                                         [SIGNATURES ON NEXT PAGE]



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           N WITNESS WIffiREOF the patties have executed and delivered this Addendum as of the
           Addendum Data.


                                               PERKINS                              S LLC


                                               Name:     Vit president
                                                         L3enerdI Cuuiiti
                                               Title:    cnrrtnry




                                               5171 CA?VWBELLS LAND CO., Inc.

                                               By7
                                               Name: £4%’e.sz, 7Efl/1
                                               Title:   ,%,-(   ite.,I




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                                                                                       Ashtabula, OH
                                                                                   Unit Number 3383
                                 AMENDMENT TO LICENSE AGREEMENT


          This Amendment dated January 31, 2018 is by and between Perkins & Marie Caliender’s,
      LLC (“PMC”) and 5171 CAMPBELLS LAND CO., INC. (the “Llcensee) and shall amend the
      certain license agreement between the parties dated January 31, 2018 (the “Ucense
      Agreement”) pertaining to a Perkins restaurant located at 1601 Prospect Road, Ashtabula, Ohio
      44004 (the “Restaurant”).

                                          Terms of Agreement


         1. Section 8.A(5) of the License Agreements is modified as follows:

                    We have the right to require that you remodel, redecorate, re-equip, modernize
                    and refurnish the Premises and the Restaurant to reflect any changes in Perkins
                    restaurants that we prescribe as our then-current standards and specificatIons,
                    provided that at the time of our request, at least 25% of our Company owned
                    and operated restaurants meet such standards and specifications. You
                    understand that such remodeling, redecorating, re-equipping, modernization or
                    refurnishing may require a substantial investment on your part and that we
                    cannot make any guarantee of any particular return on that investment, We
                    have the right to approve the layouts, designs, and new equipment, furniture
                    and furnishings you use In any remodeling, redecorating and re-equipping, The
                    Company has met the foregoing threshold and has requested that Licensee
                    remodel the Restaurant, Accordingly, Licensee will complete a remodel of the
                    Restaurant on or before December 31, 2020 according to the 2017 PerkIns
                    Restaurant Specification and Guidelines attached as Exhibit “A”. and in
                    accordance with plans and specifications approved in advance by PMC.

             The terms of this Amendment are specific to you and your operations, and are based on
      your unique situation, You agree to keep the terms of this Amendment confidential,

      Except as modified above, all terms and conditions of the License Agreement remains in full
      force and effect,




                                      (Signatures on following page)




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                                                                             Ashtabuia, OH
                                                                         Unit Number 3383




     PERKINS & MARIE CALLENDER’S,        5111 CAMPBELLS LAND CO., INC.
     LLC




             Vice President                                     770&94?eq’
     Print Nanq9j-p CDun1                Print Name:
             Secretary
     Title:
          —          --
                                         Title:   A es,Jo,}




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                                                                             Ashtabula, OH
                                                                         Unit Number 3383


                                                    Exhibit A

           •• 2017 PerkIns Restaurant EterIor Material Specifications

           + Perkins Restaurant Interior Specifications 2017

           + Franchise Standards Remodel Standards

           + Approved Vendors List




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                         EXHIBIT 2
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                          Perkins & Marie Callender, LLC
                                                                               May 4, 2018
     Sent via FedEx
     5171 Campbells Land Co., Inc.
     Attn: William T. Kane
     252 Fourth Avenue
     Rankin, PA 15104

                     RE:               Notice of Default
                     Cur File No.:     FG-258

     Dear Billy:

             Perkins & Marie Callender’s, LLC (“PMC”) hereby provides you with notice of 5171 Campbells
     Land Company, inc. (“CLC”) default of certain obligations under each License Agreement and Addendum
     to License Agreement (collectively, the “License Agreements”) entered with Perkins & Marie Callender’s,
                                                                                                        the
     LLC (“PMC”) on January 31, 2018 for the Perkins Restaurants listed on Exhibit “A” (collectively,
     “Franchised UnIts”).

             Notice is hereby given that CLC is currently in default of Section B.C (“Approved Products,
     Distributors and Suppliers”) of the License Agreements for using unapproved products in the Franchised
     Units, namely turkey and pork chops.
                                                                                                         License
              Further, as of the date of this notice LIcensee is in default of Sections 7 and 9 of the
     Agreements due to non-payment of sums due under the License            Agreements,  specifically Licensee’s
     failure to pay Royalties and Marketing Fund Contributions as follows:

                      Rova Ities
                      Period 3, 2018                            $ 52,561.53
                      Period 4,2018                             $102,118.22

                      Marketing Fund Contributions
                      Period 2,2018                             $35,836.37
                      Period 3,2018                             $ 79,261.47
                      period 4, 2018                            $76,588.59

              Stili further, Licensee has failed to pay Transfer Fees and miscellaneous invoices as follows:

                      License Transfer Fees
                      Due 1/31/2018                             $ $6,000.00
                      Invoice
                      Training                                  $    525.6D
                      Training                                  $     86.61
                      Training                                  $    738.93

                      Total Due                                 $403,717.32                                        I

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              In accordance with the License Agreements and the applicable laws, the License Agreements will
     terminate thirty (30) days from the date you receivethis notice unless all past due amounts have been
     paid on or before the termination date. In the eVent the License Agreements terminate, the Licensee
     will be obligated to comply with the post termination obligations in the License Agreements. Please be
     reminded of the Guarantee and Assumption of Licensee’s obligations under the License Agreements.


     Sincerely,

     Perkins & Marie Callender’s, LLC


     Andy’
     Vice President General Counsel and Secretary


     cc      Dave Biouin
             Jim Frank
             Marcus Hewitt
             Sandra Stone
             Joel Walker
             Jeff Warne
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                                                        Exhibit “A”
                                                     Franchised Units.

               W?                  Npm.
               2474 Warren (Niles)                                   Warren, OH
               2537 New Castle                                       New Castle, PA
               3346 clarion                                          Clarion, PA
               3382 Ashland                                          Ashland, OH
               3383 Ashtabula Prospect   -                           Ashtabu!a, OH
               3388 Canfield E Main Street
                                 -                                   Canfleld, OH
               3448 Titusvlile Central Ave.
                                     -                               Tltusville, PA
               3458 ErIe East
                         -                                           Erie, PA
               3459 Erie South
                         -                                           Erie, PA
               3460 Erie West,
                         -                                           Erie, PA
               3463 Greenville Hadley Road
                                         -                           Greenville, PA
               3464 Grove City W. Main Street-                       Grove City, PA
               3466 indiana                                          Indiana, PA
               3474 Hermitage (Sharon)                               Hermitage, PA
               3495 Warren Elm Rd.
                                 -                                   Warren, OH
               3523 Corry Columbus Ave
                             -                                       Corry, PA
               3525 Bradford Boiivar Or.
                                     -                               Bradford, PA
               3531 Olean State Street
                             -                                       OIean, NY
               3572 Warren Ludiow St.
                                 -                                   Warren, PA
               3573 Conneaut Rt 20 W Conneaut P1
                                         -                           Conneaut, OH
               3604 Meadvflle                                        Meadville, PA
               3670 Youngstown Boardman          -                   Youngstown, OH
               3709 Mlddleburg Heights (Cleveland)                   Mlddieburg Heights, OH
               3730 Mars (CranberryTownshlp)                         Cranberry Township, PA
               3731. Canton                                          Canton, OH
               3794 Austintown                                       Austintown, OH
               3844 Brooklyn                                         Brooklyn, OH
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                         EXHIBIT 3
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                         Perkins & Mate Callender’s, LLC
                                                                                 June 8,2018
    Sent via FedEx
    5111 Campbelis Land Co., Inc.
    Attn: William T. Kane
    252 Fourth AvenuE
    Rankin, PA 15104

                     RE:               Letter of Understanding
                     Our File No.:     FG-258

     Dear Billy:

            We appreciate the efforts that Dr. Linaburg and you undertook In order to meet with the team
                                                                                    letter is to reiterate the
     in Memphis; we believe that it was a constructive meeting. The purpose of this
     main points discussed in the meeting.
                                                                                                         of uncured
             As you know, the Licen5e Agreements terminated on June 4, 2018 by reason
                                      Marie    Callender’s,  LLC (“PMC”)  agreed  (i) to permit Campbells   Land Co.,
     defaults; nonetheless, Perkins &
                                           operating   the  restaurants  as Perkins   Restaurants so long  as certain
     Inc. (“dC”) to temporarily continue
                                 further, (ii) to consider  reinstating the License   Agreements  on  the conditions
     requirements are met and,
     that:
                                                                                                          or
                     CLC provides to PMC financial statements for each restaurant, as well as for CLC, on
                                                                                             restaurant P&L
     before July 6, 2018. (Upon your request, I can provide you with a commonly used
                                                                                          performance and
     format, which will put us in a better position to evaluate your restaurants’
     opportunities.)

                    CLC pays Period 4 and Periods MarketIng Contributions in three weekly Installments of
                                                                                   15, 2018, with successive
     $38,751.48 each, with the first installment to be received no later than June
     payments to be received by PMC on the following two Fridays.

              •        CLC pays period 6 RoyaltIes at 2% and Marketing Contributions at 3% no later than the
                                                                                          the balance of the
      date they are due under the License Agreements (i.e., June 27, 20Th), noting that
      Period 6 Royalties wHi be deferred until a time to be determined.

              •      CLC deflvers to PMC (to the attention of Andy Whiteiey) a copy of the agreement (or
      agreements) with Reinhart regarding the dishwashers and walk-in refrigeration equipment and required
      product purchases related thereto no later than June 15, 2018.

              •       CLC to send to Michael McGee a scope of work for the restaurant remodels currentiy in
      progres5, namely Austintown, Canton, Warren (Boardman), Grove City, and New Castle.

              Once we receive and evaluate the financial statements, we will decide whether or not the
      License Agreements will be reinstated and continue under the terms which we discussed in the meeting,
      as well as set the dates by which PMC shall receive the other deliverables discussed (e.g., payment of
      deferred royalties and interest, capital and remodel plan, organizational chart, etc.).




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              We believe It will benefit CLC greatly If Ron and you, among other things, prioritize your work,
     focusing on what matters mast; work on your marketing efforts with your Buntin representative; don’t
     try to reinvent the brand; don’t create specials; and don’t worry about evaluating new products.

             in an effort to help define success and guide you in the business, I have committed to working
     with you and your team to better evaluate operations and help develop a plan defining next steps, as
     well as provide the general knowledge of the business which you have conceded needs improvement.
     This was proposed to be accomplished by business reviews we can facilitate in your market and
     telephone conferences,

              Lastly, be reminded, this correspondence is intended to provide the rough guidelines for
     allowing CLC to continue operating the restaurants as Perkins Restaurants and shall serve as a
     temporary license agreement subject to termination upon receipt of notice, with the understanding that
     all terms contained in the License Agreements which are not specificaily modified by the provisions of
     this letter are incorporated herein by this reference. This document is not intended to be all-
     encompassing in terms of the matters we discussed relative to the iong term continuation of the
     business.


     Sincerely,

     Perkins & Marie Calienders, LLC




     Dave Blouin
     Vice President Franchise Operations


     cc,     Dave Biouin
             Jim Frank
             Marcus Hewitt
             Sandra Stone
             Jeff Warne
             Andy Whiteiey
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                       Perkins & Maffe Callender, LLC


                                                                         June 3, 2019



    Sent via E-Mail and FedEx
    5171 Campbells Land Co., Inc.
    Attn: William T. Kane
    252 Fourth Avenue
    Rankin, PA 15104



                   NOTICE OF TERMINATION OF TEMPORARY LICENSE
                   Our File Number: FS-258


     Dear Mr. Kane:

             On January 31, 2018, 5171 campbell’s Land Co., Inc. (“CLC”) and Perkln5 & Marie
     Callender’s, LLC (“PMC”) entered Into twenty-seven license agreements (the “License
     Agreements”) granting to CLC the right to operate as Perkins Restaurants the facilities at the
     locations listed on the attachment accompanying this ietter (the “Restaurants”).

             As the result of dc’s failing to pay royalty fees, marketing fund contributions, transfer
     fees and training expenses, on May 4, 2018, PMC provided to ac a notice of default of the
     License Agreements, under which CLC was provided thirty days to cure the defaults; however,
     the defaults were not cured and the License Agreements terminated on or about June 4,
     2018. On June 5, 2018, Dr. Linaberg and you met with members of PMC’s senior management,
     including Jeff Warne, PMC’s chief Executive Officer, to discuss the termination and possible
     next steps.

             As a follow-up to the meeting, Dave Biouin, PMC’s Vice President, Franchise Operations,
     issued to cic a Letter of Understanding dated June 8, 2018, whIch, among other things, granted
     to CLC the temporary right to continue operate the restaurants as Perkins Restaurants, subject
     to the conditions set forth in the Letter of Understanding. The Letter of Understanding
     incorporated the terms of the License Agreements except as specifically modified
     therein. Furthermore, the Letter of Understanding stated that the temporary license was
     subject to termination upon receipt of notice.




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            As of the date of this Notice of Termination, CLC owes to PMC:

                     •   Royalties                      $742,913.29
                     •   Deferred Royalties             $757,656.50
                     •   Marketing Contributions        $609,934.65
                     •   Transfer Fees                  $ 54,000.00

             As a result of dC’s failure to meet the conditions set forth in the Letter of
     Understanding, including the failure to pay amounts owned to PMC, PMC hereby provides to
     CLC this Notice of Termination. Accordingly, CLC’s right to operate the Restaurants as Perkins
     Restaurants terminates immediately. You may refer to Section 15 and Section 16 of the License
     Agreements for an explanation of the obligations CLC and you, as guarantor, owe to PMC as a
     result of the termination.


     Perkins & Mar           der’s, LLC



     By:
           rAndy Whiteley
            Vice President, General Counsel & Secretary


     cc.    Rob Dauer
            Dave Biouin
            Jim Frank
            Marcus Hewitt
            Joel Walker
            Jeff Warne
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                       Perkins & Marie Callender’s, LLC


                                                                          June 4, 2019



    Sent via E-Mail
    5171 Campbells Land Co., inc.
    Attn: William T. Kane
    252 Fourth Avenue
    Rankin, PA 15104



                   RE: De-Identification
                   Our File Number: FG-253


     Dear Mr. Kane:

             As you know, the License Agreements, specifically Including the temporary license
     agreement, between Perkins & Marie Callender’s, tic (“PMC”) and 5171 Campbell’s Land Co.,
     Inc. (“CLC”) terminated.

           Pursuant to Section 16 of the License Agreements, CLC is required to pay to PMC all
     sums due and owing within 15 days of termination.

              Furthermore, Section 16 requires CLC to Immediately cease Identifying Itself as a current
     or former Perkins restaurant, or as a licensee, or use any trademark or colorable imitation
     thereof; remove from the premises the oversized American flag and bakery display cases;
     remove from the premises and discontinue using all signs, flags, menus, fixtures, furniture,
     furnishings, equipment, advertising, materials, stationery supplies, forms or other articles that
     display or contain any trademark or that otherwise identify or relate to a Perkins restaurant;
     remove all marks that are affixed to uniforms or cease to use all uniforms that have been used
     at the restaurants; take such action as may be required to cancel all fictitious or assumed name
      registrations relating to CLC’s use of any trademark; change the telephone numbers of the
     restaurants; terminate or assign to PMC any website that identifies CLC as currently or formerly
      associated with PMC or that displays any Mark, as well as any domain names of such websites;
     take such action to alter the physical Interior and exterior decor of the restaurants (specifically
     including, but not hmited to, removing distinctive architectural features of or on the buildings)
      as will effectively de-identify and distinguish the premises from the Perkins restaurant system;




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     and furnish to PMC, within 30 days after the effective date of termination, evidence satisfactory
     to PMC of CLC’s compliance with the foregoing obligations.

             Because PMC must schedule personnel to visit the restaurants to ensure compliance
     with the de-identification obligations, please advise the undersigned as to CLC’s plans, including
     a timeline, to de-identify the facilities, [To the extent such de-identification measures are not
     taken within 30 days of termination, PMC has the right to enter the premises (without
     committing trespass) and remove all Items bearing the trademarks and take such actions as
     PMC deems necessary to de-identify the restaurants from the Perkins restaurant system, with
     the costs thereof being the responsibility of CLC.]


     Perkins & Marie         er’s, LLC



     By:    An y Whiteiey
            Vice President, General Counsel & Secretary


     cc:    Rob Dauer (via E-Mail and FedEx)
            Dave BloWn
            Jim Frank
            Marcus Hewitt
            Joel Walker
            Jeff Warne
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                         EXHIBIT 5
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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TENNESSEE


     PERKINS & MARIE CALLENDER’S
     LLC,                                            )
                                                     )
             Plaintiff,                              )       Docket No. 2:19-cv-02414
                                                     )
     v.                                              )
                                                     )
     5171 CAMPBELLS LAND CO., INC.,
     WILLIAM T. KANE, AND KRISTINE
     KOCHIS.,
                                                     )
             Defendants.                             )

              TEMPORARY RESTRAINING ORDER AND NOTICE OF HEARING


            This matter is before the Court on Plaintiff Perkins & Marie Callender’s, LLCs (“PMC”)

     Verified Complaint (ECF No. 1), as well as Plaintiffs Motion for Temporary Restraining Order

     and Preliminary Injunction (ECF No. 9).

            Having reviewed the Verified Complaint and the arguments in the Motion, the Court is

     satisfied that Defendant 5171 Campbells Land Co., Inc. (“CLC”) has breached (and is in breach

     of) the License Agreements between the Parties and that Defendants Kane and Kochis have

     breached (and are in breach of) their Guarantees. It further appears to the Court that (1) absent

     entry of this Order, Plaintiff ivill continue to suffer immediate and irreparable harm, including

     unfair competition and the loss of customer goodwill, and (2) Plaintiff has no adequate remedy at

     law, The Court is satisfied with the efforts of Plaintiffs counsel to notif’ Defendants and their

     Pennsylvania counsel of Plaintiffs intention to seek injunctive relief as required by Federal Rule

     of Civil Procedure 65. Accordingly, the Motion for a temporary resftaining order is well-taken

     and should be GRANTED.

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            if IS THEREFORE ORDERED, pursuant to Rule 65(b) of the Federal Rules of Civil

     Procedure, that a temporary restraining order against Defendants shall issue as follows:

                a. Defendants are restrained from competing activities within a 3-mile radius
                   of each Restaurant or within a 3-mile radius of any Perkins restaurant
                   operated by PMC or any other licensee of PMC, as set forth in Section 16.A
                   of the Agreements;

                b. Defendants are restrained from using or disclosing PMC’s confidential
                   information as that term is defined in Section 6 of the Agreements, as set
                   forth in Section 16.D of the Agreements and required by the DTSA and
                   TUTSA;

                c. Defendants shall return any and all confidential information retained by
                   Defendants upon the termination of their relationship with PMC, as set forth
                   in Section 16.D of the Agreements;

                d. Defendants are restrained from continuing to directly or indirectly identi’
                   the Restaurants as current or former Perkins restaurants, or as franchisees
                   or licensees of, or as otherwise associated with PMC, as set forth in Section
                   16.C(I) of the Agreements;

                e. Defendants are restrained from continuing to use any trademark owned by
                   PMC or any colorable imitation thereof in any manner or for any purpose,
                   or utilize for any purpose any trade name, trade or service mark or other
                   commercial symbol that suggests or indicates a connection or association
                   with PMC, as set forth in Section 16.C(l) of the Agreements and as
                   prohibited by the federal Lanham Act;

                f.   Defendants shall remove from the premises of the Restaurants and
                     discontinue using for any purpose the oversized American flag and the
                     bakery display cases, as set forth in Section 16.C(2) of the Agreements;

                g. Defendants shall remove from the Premises, discontinue using for any
                   purpose and return to PMC any and all signs, flags, menus, fixtures,
                   flirnihire, furnishings, equipment, advertising, materials, stationery,
                   supplies, forms or other articles that display or contain any PMC trademark
                   or that otherwise identify or relate to a Perkins restaurant, as set forth in
                   Section 16.C(3) of the Agreements;

                h. Defendants shall remove all PMC trademarks that are affixed to uniforms
                   and cease to use all uniforms that have been used in the Restaurants, as seE
                   forth in Section 16.C(4) of the Agreements;




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                  i.   Defendants shall take all such actions as may be required to cancel all
                       fictitious or assumed name or equivalent registrations relating to their use
                       of any PMC trademark, as set forth in Section 16.C(5) of the Agreements;

                  j. Defendants shall change the telephone number of the Restaurants and direct
                       the telephone company to provide a recorded message advising callers that
                       the prior number is no longer in service, and instruct all telephone directory
                       publishers to modify all telephone directory listings of the Restaurants
                       associated with any PMC trademarks when the directories are next
                       published, as set forth in Section 16.C(6) of the Agreements;

                  k, Defendants shall assign to PMC any website that identifies Defendants and
                     the Restaurants as currently or formerly associated with PMC or that
                     displays any PMC trademark, as well as any domain name of such website,
                     as set forth in Section 16CC) of the Agreements;

                  I,   Defendants shall take such action to alter the physical interior and exterior
                       decor of the Restaurants (specifically including, but not limited to,
                       removing distinctive architectural features of or on the building) as will
                       effectively de-identify and distinguish the Restaurants from the PMC
                       Perkins’ brand, as set forth in Section 16.C(8) of the Agreements;

                  m. Defendants are restrained from destroying, deleting, or otherwise rendering
                     inaccessible any text messages, c-mails, call logs, documents, or other
                     information electronically stored or otherwise relating to the allegations
                                   —                                     —




                     and claims alleged in the Verified Complaint.

            The Court further finds that Defendants agreed in the License Agreement paragraph 18(D)

     that PMC would not be required to post a bond to obtain injunctive relief.          ($ ECF No. 1-3)
     Accordingly, Plaintiff need not post at this stage any security in connection with this Order. The

     issue of a bond may be revisited at the preliminary injunction hearing.

            Plaintiff shall immediately provide a copy of this Order to Defendants via FedEx overnight

     delivery and any other reasonable means Plaintiff may have for contacting or communicating with

     Defendant.

            A hearing to determine if this Order shall be converted to a Preliminary Injunction pursuant

     to Rule 65(a) of the Federal Rules of Civil Procedure shall be held on Monday July 8, 2019, at

     4:00 p.m. At least four days prior to the hearing, Defendants shall file any opposition to Plaintiffs


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     Motion for Temporary Restraining Order and Preliminary Injunction. At least two days prior to

     the hearing, Plaintiff shall file any Reply in further support of its Motion.



     SO ORDERED, this 2nd day of July, 2019.
                                                       Is! Jon P. McCalla
                                                     JON P. MOCALLA
                                                     UNITED STATES DISTRICT JUDGE




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